                 Case 9:24-cv-00085-MJT                                  Document 19-4 Filed 07/24/24                                           Page 1 of 38 PageID #:
                                                                                    198
                                                                                  120307275




C
        UCC FINANCING STATEMENT
        FOLLOWINSTRUCTIONS (front and back CAREFULLY                                                                                           File Number. 20120794591A
        A NAME & PHONE OF CONTACT AT FILER [optional                                                                                       Date Filed: 8/20/2012 249-16 PM
         Gisslla                              M elendez
         B. EMAIL CONTACT AT FILER {optional                                                                                                  C. Delbert Hosemamn, Jr.
             efiling@wolterskiuwer.com                                                                                                            Secretary of State
        §C. SEND ACKNOWLEDGMENT TO: (Namie and


              [CT Lien Solutions

              P.O. Box 29071
                     ndale                        CA                        91209-9071
              [Gle                                                                                                         THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
        1.   DEBTOR'S EXACT FULL LEGAL MAME- insertonty ona debtor name (1acr                    nat abbrevialea combine names
               1a.
                 REENLEAF RESOURCES. INC.
        OR 1D. IMDIVIOUAL'S LAST OAME                                                         FIRST GIVEN NAME                                      SECOND GIVEN NAME.                   SUFFIX
                                                 (1.4. FAMILY NAME ar SURNAME}



        16                                                                                    ary                                                   STAI                                 x        R
        313 TELLY RD. PMB1§                                                                   PICAYUNE                                             MS           39466                   USA
        18. Check        if applicable snd clack only anebox:        Debtor                   Debtociam Trestee acting with respect te property held in buat            Dabtorise Dacectent's Extaly

        2, DEBTOR'S EXACT FULL LEGAL NAME osect onty one debtor name 2a or 2b) -do nal sbbrevialu or combine names
            Za.ORGARNIZATION'SNAME


        ORG
               2b.   INDIVIDUALS. LAST NAME      [a FAMILY         @ SURNAME)                 FIRST GIVEN NAME                                      SECOND GIVEN NAME                    SUFFIX


<       de MAILING ADDRESS                                                                                                                          YATE        POSTALCODE               COUNTRY


        24. Chick ont                and check onbrona bax:                ts    Tart                    Trustee       with                     held In trust                     Decaxtents Estate

        3.   SECURED PARTY'S NAME foi NAME of TOTA ASSIGNEE of ASSIGSNCR SIP) .ingartonty                              party   mana   of 30)
               Jy, ORGANIZATION'S NAME
               CATERPILLAR FINANCIAL SERVICES CORPORATION
        OR 31. INDIVIDUALS NAME                                                               FIRST GIVEN NAME                                      SECOND GIVEN NAME.                   SUFFIX
                                                 (1.8. FAMILY NAME or SURNAME}



        3c. HAJLINGADDRESS                                                                    av                                                    Stale                                COUNTRY
        2120 WEST END AVE                                                                     NASHVILLE                                            TN           37203                    LSA
        4. This FINANCINGS STATEMENT covers the following cottatar al:
    -
        ONE(1}CATERPILLAR 140H MOTOR GRADER S/N: APM01550And substitutions, replacements, additions and accessions thereto,
        now owned or hereafter acquired and proceeds thereof.




                                                                                                                                International Association of Commercial Administrators (ACA)
                                                                UGC FINANCING STATEMENT (FORM UCC1) (REV. DRAFT 05/21/09)

                                                                                                                                                                        EXHIBIT 3
                                                                                                                                                                                       WHITE 000001
              Case 9:24-cv-00085-MJT                                    Document 19-4 Filed 07/24/24                                            Page 2 of 38 PageID #:
                                                                                   199

                                                                     312813
                                                                                                                                                          Fits Number ant 20039251
    UCC FINANCING STATEMENT                                                                                                                             Date Filed: 16/44/2012 8 0000 AM
    FOLLOW NSTRUCTIONS front and back)CAREFULLY
     IA. NAME & PHONE OF CONTACT AT FILER [optional]
                                                                                                                                                            C.DelbenHosemann
         SUZETTE ANDERSON 3182567000                                                                                                                            Secretary af Strate
     IB.   SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                                                                                                         :



                   Sabine State Bank and Trust Co
                   P 0 Box 670
                   Many, LA 71449



                                                                                                                          THE ABOVE SPACE iS FOR FILING OFFICE USE ONLY
j    1. DEBTOR'S EXACT FULL LEGAL NAME nsert only one debtor name (18 or 1b} do not abbreviate or combine mames
         ta. ORGANIZATION'S NAME
            GREENLEAF RESOURCES, INC.
    OR tb. INOTVIDUAL'S LAST NAME
                                                                                           FIRST                                                MIDDLE NAME                             SUFFIX


    4c. MAILING AOORESS                                                                   City                                                  STATE    POSTAL COOE                    COUNTRY
         313 TELLY RD, PMB 16                                                               PICAYUNE                                            ms        39466                             USA
    1d. SEE INSTRUCTIONS          A00'L INFO RE            fie TYPE OF ORGANIZATION        if. JURISOICTION OF ORGANIZATION                     tg. ORGANIZATIONAL tO #, fany
                                  ORGANIZATION
                                  OEBTOR                   Corporation
    2. ADDITIONAL DEBTOR'S EXACT FULL LEGAL NAME - naert only one debtor neme (2a of 2b}                       «do not abbreviate or combine names

        2a. ORGANIZATIONS NAME



           2b, INOIVIQUAL'S LAST NAME                                                      FIRST NAME                                           MIDDLE NAME                             SUFFIX


    2c. MAILING AOORESS                                                                    CITY                                                 STATE    {POSTAL COOE                   COUNTRY


    2d.                           ADO'L INFO RE 2e. TYPE OF ORGANIZATION                   zt. JURISOICTION OF ORGANIZATION                     29. ORGANIZATIONAL ID &, f any
                                  ORGANIZATION
                                  OEBTOR
    3. SECURED PARTY'S NAME oor NAME of TOTAL ASSIGNEE of ASSIGNOR SP) insbrt on y one secured party name (32 or 2b)
                                                                                             -



        Sa ORGANIZATION'S NAME
            Sabine State Bank & Trust Company
    OR 3b. INOIVIOUAL'S LAST NAME                                                          FIRST NAME                                           MIOOLE NAME                             SUFFIX


    3c MAILING ADDRESS                                                                     CITY                                                 STATE    [POSTAL CODE                  COUNTRY
     P O Box 670, 287 Elizabeth Street                                                     Marty
                                                                                                                                                LA       71449                              USA
    4. This FINANCING STATEMENT covers the following collateral:

     ONE CERTAIN MASTER SERVICE AGREEMENT BY AND BETWEEN HUNT OIL COMPANY, COMPANY AND GREENLEAF RESOURCES, INC.,
     CONTRACTOR DATED JULY 19, 2012. SEE ATTACHED EXHIBITS A, B, C AND D BETWEEN COMPANY AND CONTRACTOR; All Monies,
     Contracts, Inventory, Chattel Paper, Accounts, Equipment and Ge ral Intangibles.




    5. ALTERNATIVE OESIGNATION                                SEELESSOR                                                   EE/BAILOR:        ELLE
                                   if applicable       :                             ONSKGNEE/CON                     t                                  R         iG.   LIEN        ON-UCC       F   t

    6.        is                        stobe. edforrecor
                                                   4
                                                                     recorded) n the                                                       on
                                        Ad   dum                                ff                 ADD   ONA                              on                     ! Debtor s      jebtor 1                 2
    8, OPTIONAL FILER REFERENCE DATA
     LOAN 140010-25
                                                                                                                                                Harland Fina lal Solutions
    DEBTOR COPY       -
                          UCC FINANCING STATEMENT (FORM UCC1) (REV. 08/22/02)                                                                   400 S.W. 6th 'Avenue, Portiand Oregon 97204




                                                                                                                                                                          EXHIBIT 3
                                                                                                                                                                                             WHITE 000002
              Case 9:24-cv-00085-MJT               Document 19-4 Filed 07/24/24                     Page 3 of 38 PageID #:
                                                              200


                           312813)
                                                                              A


        This Exhibit A is attached to and made a part of that cesta MASTER SERVICE AGREEMENT ("Agreement") dated
        July 19, 2012, between Hunt Oil Company ("Company") nd Greenleaf Resources, Inc. ("Contractor").

        SERVICES

        Provide equipment rental and location and road constriction clearing services for the Oil & Gas industry.



        PRICING

        Unless otherwise indicated in a Work Order signed by each of Company and Contractor, the pricing applicable to each
        Work Order shal! be as set forth in the Price List attached hdreto as modified and initialed (the "Price List") and shall be
    -
        Subject to any price discounts listed below.


                                                            End of Exhibit A




C       MS4-NBPR
        Ref # MSA-122103
                                                                Exhibit A +




                                                                                                                     EXHIBIT 3
                                                                                                                                WHITE 000003
Case 9:24-cv-00085-MJT                   Document 19-4 Filed 07/24/24                  Page 4 of 38 PageID #:
                                                    201

           312813)

                        Exhibit A


                       Greenleaf Resources, Inc.               7/20/2012
                       Hourly Rates
Cat D6 Dozer                                    $155.
Cat DS Dozer                                    $125.0
Cat 140 Moter Grader                            $150.
Cat 320 Track Hoe                               $140.00
Cat 420 Back Hoe                                $100.00!
RM 300 Concrete Mixer                           $400.00
RM 500 Concrete Mixer                           5455.00
Jonn Oeere 500 HP &22 Scraper Pans                                                                                        :
                                                $345.00
Fiat Allis Front End Loader                     $125.00
Cat CP 56 Compactor                              $85.00'
Cat CS 56 Compactor                              $85.00
130 BBL Water Truck                              $95.00                                                                       :

Truck & Lowboy                                  $175.00    .




Truck & Belly Dump                              $100.00
Tandem 12yd. Dump Truck                          $85.00
Cat Skid Steer W/ Attachments                   $100.00
Cat 9,000Ib. Forklift W/ Ext Boom 47'         $100.00
Light Plants                                 $65.00 per day
3" Water Pump                                $75.00 per day
6" Trash Pumps                               $150.00 per day
Welding Truck & Tools ls 2 man Crew           $145.00
1 Ton Truck & 40 Ft Trailer                   $100.00
1 Ton Truck & 30 Ft Trailer                    $95.00
Rousta Bout Truck & Tools 2 man crew          $125.00
Rousta Bout Labor                              $25.00                                                                     :


1 Ton Teuck & 20 Ft. Trailer                     $90.00
There is a 4 hour Mininum for all labor and equipment.
Equipment Rates include Labor and Fuel        There are nb additional charges for overtime, weekends or
Rousta Bout and Welder Rates are increased to time and a half for over 8 hours a day




                                    AO    1A,




                                                                                                          EXHIBIT 3
                                                                                                                WHITE 000004
     Case 9:24-cv-00085-MJT                  Document 19-4 Filed 07/24/24                           Page 5 of 38 PageID #:
                                                        202


                   3128131

                                                          EXHIBIT B


 This Exhibit B is attached to and made a part of that certa n MASTER SERVICE AGREEMENT ("Agreement") dated
 July 19, 2012, between Hunt Oil Company ("Company") and Greenleaf Resources, Inc. ("Contractor").
 SAFETY. HEALTH AND ENVIRONMENTAL PROTECTION OLICY

Company is committed to safety, health and environmental            rotection for its employees, customers, local communities
and others who may bc affected by its varied operations.
 The Coutractor certifies that it wilk

           To the fullest extent practicable conduct its operations in a manner that protects the safety and health of its and
           Company's emptoyces and the public, avoids adverse impact on the environment and mitigates unavoidable
           impact of its operations on the environment.

          Advise and train its supervisors in safety, health and environmental requirements and hold each accountable for
          compliance as it relates to his/her area of responsibility.

          Provide its employees with adequate training and           education   in safety and environmental! matters and hold each
          employce accountable for compliance in performing          his/her assigned tasks.


          Comply with all applicable safety, health and environmental faws and regulations.

          Provide technical and legal support to those responsible for compliance.

          Encourage timely and effective communication between employees and their supervisors regarding safety, health
      -




          and environmental issues.


          Encourage its employees to communicate their concerns to management about any unresolved safety, health and
          environmental risks they might have identified.

          Conduct safety and environniental reviews of Contrattor's operations in order to evaluate its compliance with all
          applicable safety, health and environmental laws and regulations.

          Provide a copy of this certification to the Contractor's sub-contractors and notify them that they and their
          subcontractors wil] be expected to perform all work for the Company in accordance with this certification.

DRUG/ALCOHOL POLICY

The Company has in place      a   DRUG/ALCOHOL POLICY,                in connection therewith, Contractor certifies as follows:
                                                              and
          Contractor will inform its employees who perform services under any MASTER SERVICE AGREEMENT with
          the Company of the Company' s objective to maintain a safe work environment and that the Company has a policy
          forbidding the use or possession of prohibited drugs, or having traceable amounts of prohibited drugs in the
          employees' system or being under the influence of alcphol while on Company's premises.

          Contractor has in force a drug policy which requires, periodic tests of employces for prohibited drugs and grants
          Company the right to audit enforcement of such policy.

          Contractor will not allow any employee of Contractor to perform services for the Company under any MASTER
          SERVICE AGREEMENT if such employee has violated the Contractor's prohibited drug policy.
MSA-NBPR                                                  Exhibit
Ref# MSA-122103




                                                                                                                    EXHIBIT 3
                                                                                                                               WHITE 000005
       Case 9:24-cv-00085-MJT                    Document 19-4 Filed 07/24/24                    Page 6 of 38 PageID #:
                                                            203

                      312813

             If Contractor's employees are working on Comphny's facilities, which are regulated by the De partment of
              Transportation regulations governing the prohibitio f drugs (49 CFR Part 195 [pipelines]), (49 CFR 391 {motor
             cartiers}), that the Contractor and such employees are currently in compliance with said Department of
             Transportation regulations
                                                                                                                                       7




 e           Contractor will require each of its subcontractors   a   work on Company premises to certify to the foregoing.

 GIFTS

 e           The Company does not seck to do business through the improper use of business courtesies or other inducciments.
             Business relationships should be built on quality products and services at competitive prices.

 e
             Offering. giving, soliciting, or receiving any form of bribe is strictly prohibited. The acceptance of cash (or cash
             equivalent) is never permitted.

 e           Gifis or entertainment may be given or received if they:

                are nominal in value ($100.00 per annum maximum) and would not be viewed,as a bribe or payoff:

                                                                                                     :

                are legal and ethical;

                would not prove to be embarrassing if publicly k own; and

         ~
                are acceptable practices under the circumstances.


         Acceptance of free lodging for vacation travel and recreational trips (hunting, fishing, golf, etc.) can be an
e
         acceptable business practice subject to all of the cond tions listed above and provided that:
                                                                                                                                     ©
                prior approval of an employee's supervisor and an accountable Company officer is received;

         ~
                the acceptance will not impose any obligation (monetary or otherwise) on the employee or the Company; and

                the business purpose is considered normal and prudent within the industry and is a practice used by the
                Company to maintain or develop business relationships with others.

FIREARMS
Firearms or weapons, except those in possession of federal, state and local law enforcement officials, will not be allowed
on property owned or leased by the Company.   This policy als@ is in effect in any vehicles leased, owned or rented by the
Company.   With approval of the Company security director, security guards may be allowed to carry firearms.


                                                         End of Ex ibit B




MSA-NBPR                                                     Exhibit B 2
Ref # MSA-122103




                                                                                                                   EXHIBIT 3
                                                                                                                              WHITE 000006
          Case 9:24-cv-00085-MJT                  Document 19-4 Filed 07/24/24                     Page 7 of 38 PageID #:
                                                             204


                       312813!
                                                         EXHIBIT c
                                                   COMPLIANCE SUPPLEMENT


    This Exhibit C is attached to and made a part of that certain MASTER SERVICE AGREEMENT ("Agreement") dated
    July 19, 2012, between Hunt Oil Company ("Company") and Greenleaf Resources, Inc. ("Contractor").

    Contractor will further comply with the following:

    NON-DISCRIMINATION AND CERTIFICATION OF NON--SEGREGATED FACILITIES

     1.      THE EQUAL OPPORTUNITY CLAUSE (if this contract exceeds or will exceed $10,000).
              During the performance of this contract. Contractor agrees to be bound by the following provisions as contained
              in Section 202 of Executive Order No. 11246, as amended, to wit:

                       Contractor will not discriminate against        employee or applicant for employment because of race,
                       color, religion, sex, or national origin Cont   or will take affirmative action to ensure that applicants are
                       employed and that emplayees are treated equally during employment without regard to their race, color,
                       religion, sex, of national origin       Such ction shall include but          be limited to the following:
                       employment, upgrading        demotion   or  tra     recruitment    or  recruitment   advertising, layoff or
                       termination, rate of pay or other forms of compensation, an selection for training, including
                       apprenticeship. Contractor agrees to post iy conspicuous places, available to employees and applicants
                       for employment, notices to be provided by the contracting officer seiting forth the provisions of this
                       nondiscrimination clause.

              1
                  7    Contractor will, in all solicitations or advertisements for employees placed by or on behalf of Contractor,
                       state that all qualified applicants will receive|consideration for employment without regard to race, color,
                       rcligion, sex, or national origin.

             13        Contractor will send to each labor union     representative of workers with hich he has a collective
                       bargaining agreement or other contractor understanding a notice to be provided by the agency contracting
                       officer advising the labor union or worker's representatives of Contractor's commitments under Section
                       202 of Executive Order No. 11246 of September 24, 1965, and shall post copies of the notice in
                       conspicuous places available to employees a   applicants for employment.                                           :




             1.4       Contractor will comply with all provisions of Executive Order No. 11246 of September 24, 1965, and of              :



                       the rules, regulations, and relevant orders of the Secretary of Labor.

              1,5      Contractor will furnish all information and reports required by Executive Order No. 11246 of September             :




                       24, 1965, and by the rules, regulations, and orders of the Secretary of Labor, or pursuant thereto, and will
                       permit access to his books, records, and accounts by the contracting agency and the Secretary of Labor for
                       purposes of investigation to ascertain compliafce with such rules, regulations, and orders.

             16        In the event of Contractor's noncompliance      th the nondiscrimination clauscs of this contract or with
                       any of such rules, regulations, or orders, tht contract may be cancelled. terminated. or suspended in
                       whole or in part, aud the Contractor may        declared ineligible for further Government contracts m
                       accordance with procedures  authorized  by Executive  Order No. 11246 of September 24, 1965, and such
                       other sanctions may he imposed and remedi¢s invoked as provided in Executive Order No. 11246 of
                       September 24, 1965, or by rule, regulation, or order of the Secretary of Labor, or otherwise provided by
                       law.




C   MSA-NBPR
    Ref e MSA-122103
                                                               Exhibit
                                                                         4
                                                                             1




                                                                                                                     EXHIBIT 3
                                                                                                                                WHITE 000007
      Case 9:24-cv-00085-MJT                    Document 19-4 Filed 07/24/24                        Page 8 of 38 PageID #:
                                                           205

                     4\2813!
          1.7      Contractor will include the provisions of Paragraphs (1) through (7) in Eve ry subcontract or purchase
                   order unless exempted by rules, regulations, or orders of the Secretary of Labor issued pursuant to Section
                    204 of Executive Order No, 11246 of September 24, 1965, so that such provisions will be
                                                                                                                   binding upon
                   each subcoutractor or vendor. Contractor       will take such action with respect to any subcontract or
                   purchase order as the contracting agency may direct as a means of enforcing such provisions including
                   sanctions for non-compliance: provided, h wever, that in the event Contractor becomes involved in or is
                   threatened with litigation with a su beontradtor or vendor as a result of such direction by the
                                                                                                                     contracting
                   agency, Contractor may request the United States to enter into such litigation to protect the interests of the
                   United States.

2.        CERTIFICATION OF NONSEGREGATED ealmutre (if this contract exceeds or will exceed $10,000)
         Contractor certifies that he does not maintain or provide for his employees any segregated facilities at any of his
         establishments and that he does not permit his employees to perform their services at any location, under his
         control, where segregated facilities are maintained. He ce rtifies further that he wil! not maintain or provide for his
         emptoyecs any        gregated facilities at any of his stablishments and that he will not permit his employees to
         perform their services at any location, under his c         rol , where segregated facilities are maintained. Contractor
         agrees  that a  breach of this certification is a violation of the Equal Opportunity Clause in this contract. As used in
         this certification, the term "segregated facilities" means any waiting rooms, work arcas, rest rooms and wash
         rooms, restaurants and other eating areas, time clocks, locker rooms and other storage or dressing areas. parking
         lots, drinking fountains, recreation or entertainment areas, transportation and housing facilities provided for
                                                                                                                                                 :




         employees which are segregated by explicit directivelor are in fact Segregated on the basis of race, creed. color, or
         national origin. because of habit, focal custom, or otherwise. He further agrees that (except where he has obtained                 :




         identical certifications from proposed subcontractors or specific time periods) he will obtain identical
         certifications from proposed subcontractors prior to             award of such subcontractors exceeding $10,000 which
         are nat exempt from the provisions of Equal Opportu              Clause; that he will retain such certifications in his files:
                                                                                                                                             :




         and that he will forward notice to such proposed subcontractors (cxccpt where the proposed subcontractors have
         submitted      identical certifications for specific time periods):                    NOTICE TO PROSPECTIVE
         SUBCONTRACTORS OF REQUIREMENT FOR                       RTIFICAT IONS OF NONSEGREGATED FACIUIIES.
         A Certification of Nonscgregated Facilities as requi d by the May 21, 1968 order on Elimination of Segregated
         Facilities, by the Secretary of Labor (33 Fed. Reg. 7804, May 28, 1968), must be subtnitted prior to the award of a
         subcontract exceeding $10,000 which is not          pt     the provisions of the Equal Opportunity Clause. The
         certification may be submitted either for each subcontract or for all subcontracts during a period (i.¢., quarterly,
         semi-annually, or annually).
         (NOTE: The penalty for making false statements in offers is prescribed in 18 U.S.C. 1001.)

3.       EMPLOYER INFORMATION REPORT EEO-1
         Contractor further agrees and certifies that if the value of any contract or purchase order is $50,000 or more and
         Contractor has 50 or more employees Contractor will file a complete and accurate report on Standard Form 100
         (EEO-1) with the Joint Reporting Committee at the appropriate address per the current instructions within thirty
         (30) days of the contract award and otherwise comply with and file such other compliance reports as may be                              :


         required under Executive Order No. 1246, as amended, and Rules and Regulations adopted thereunder.
                                                 |




4.       WRITTEN AFFIRMATIVE ACTION PROGRAM
         Contractor further agrees and certifies that if the valu of any contract or putchase order is $50,000 or more and
         Contractor has 50 or more employees Contractor wil develop a written affirmative action compliance program                                  :


         for each of its establishments as required by Title 41, ode of Federal Regulations, Section 60-1.40 and Section                             :




         60.2.

5.       VETERANS EMPLOYMENT CLAUSE (if this scien is for $10,000 or more)
         Contractor agrees to abide by and comply with the provisions of the Affirmative Action Clause, Scction 60-250.4
         of 41 C.F.R. unless exempted as therein provided and4 which provisions are incorporated herein by reference to
         the same extent as though set forth herein in full.
MSA-NBPR                                                     Exhibic   2
Ret # MSA-122103




                                                                                                                       EXHIBIT 3
                                                                                                                                   WHITE 000008
         Case 9:24-cv-00085-MJT                Document 19-4 Filed 07/24/24                   Page 9 of 38 PageID #:
                                                          206

                            12813
C   6.       EXECUTIVE ORDER NO. £1758 EMPLOYM ENT OF HANDICAPPED
             Contractor agrees that it will abide by and comply jwith the provisions of the Affirmative Action Clause, Section
             60-741.4 of 41 C.F.R. (41 Fed. Reg. 16150, April 16, 1976), Affirmative Action for Handicapped Workers
             which provisions are incorporated herein by reference to the same extent as though set forth herein in futl.
    7.       EXECUTIVE ORDER NO. 11625 MINORITY                  BUSINESS ENTERPRISE
             Contractor agrees that it will abide by and comply with the provisions of the minority business enterprise
                                                                                                                                        :




             requirements of Executive Order 11625, which provisions are incorporated herein by reference to the same extent        :




             as though set forth herein in full.

    8.       Contractor further agrees to comply with all applicable provisions of the Fair Labor Standards Act, the
             Occupational Health and Safety Act, and the Immigration Reform and Control Act of 1986.


                                                        End of
                                                                 Fxbipit




    MSA-NBPR                                               Exhibit C   -
                                                                           3
         MSA-122103




                                                                                                               EXHIBIT 3
                                                                                                                          WHITE 000009
       Case 9:24-cv-00085-MJT                  Document 19-4 Filed 07/24/24                        Page 10 of 38 PageID #:
                                                           207

                        3128131
                                                                           D
                                                 EXHIBIT
                                    CONTRACTOR INSURANCE REQUIREMENTS


This Exhibit D is attached to and made a part of that certai MASTER SERVICE AGREEMENT ("Agreement") dated                           :




July 19, 2012, between Hunt Oil Company ("Company") and Greenleaf Resources, Inc. ("Contractor").                                   :




Without modifying the indemnity obligations and liabilitie of Contractor. or its insurers, Contractor shall at all times
during the term of this Agreement further comply with the following:

 1,   Contractor shall carry insurance of the types and in the minimum amounts as set forth below provided that all                     t


      insurance obtained shal1 (a) be of an "occurrence" type policy and pot a "claims made" type; (b) contain endorsements
      requiring thirty (30) days notice to Company prior to aly cancellation or material modification by any insurer or
      underwriter of any such policy or policies; (c) narhe Company Group (as defined in the Agreement) AS
      ADDITIONAL INSUREDS TO THE EXTENT OF CONTRACTOR'S LIABILITIES AND INDEMNITIES
      UNDER THE AGREEMENT, WHICH INCLUDES INDEMNITIES WITHOUT REGARD TO CAUSE OR                                                            :




      CAUSES THEREOF INCLUDING WITHOUT LIMITATION NEGLIGENCE AS PROVIDED IN
      ARTICLE 6 OF THE AGREEMENT, except as to Workers Compensation Insurance as set forth below; (d) be
                                                             thie)


      primary to and without contribution from any insuane            policies or self-insurance maintained by Company; (e)
      WAIVE ALL RIGHTS OF SUBROGATION AGAINST THE PARTIES NAMED IN (c) ABOVE; and (f) be
      without revourse against such pasties fior payment ofp m ium. Contractor on behalf of itselt and its employees
      agents, officers. directors, servants, subcontractors and late d entities. expressly acknowledges the hazardous nature
      of working around and in oil aud gas opcrations, a           further assumes all risk inherent in working in such
      environment

2.    Contractor agrees to protect its employees, agents, office directors. servants and subcontractors and subcontractor's
      employees by carrying statutory Workers' Compeusation Insurance with another states coverage clause and Alternate
      Employer Endorsement in compliance wth the applicable workers' compensation or similar laws. as amended from
      lime to time, applicable for the state or states where the work contemplated hereby is to be performed. and
      Employer's Liability Insurance with a limit of not less tha :
                                                                                                                                        :




                  Bodily Injury by accident:                              $1.000,000 each accident
                  Bodily Injury by disease:                               $1,000,000 policy limit
                  Bodily Injury by disease:                               $1,000,000 each e: nployee

      lf any work or services to be performed hereunder is on, over, incidental to, or otherwise pertains to state, federal or
      international waters, coverage will be endorsed to provide (i) protection for liabilities under the United States             :



      Longshoremans' and Harbor (USL&H) Workers' Compensation Act and the Jones Act (including Outer Continental
      Shelf Lands Act) and Maritime Liability (including transportation wages, maintenance and cure), (ii) that a claim In
      Rem shall be treated as a claim Jn Personam against {the employer, and (iii) the following Borrowed Servant
      endorsement:

                  It is agreed that a claim against Company. its parent. subsidiaries and affiliated
                  companies, and their owners, co-owners, and joint venturers, if any, and their respective
                  Underwriters by an employee of the Contra             based on the doctrine of Borrowed
                  Servant" shall as respects this insurance be t      ed as a claim arising under this policy
                  against the Contractor hereunder; and Company additional insureds and their respective
                  Underwriters, shall receive benefit of this insurance with respect to such claim.
3.    Contractor further agrees to carry Commercial General Liability Insurance including Products and Completed
      Operations, Broad Form Property Damage, Blanket Contractual I.iability Coverage, Protection and INDEMNITY
      INSURANCE {if marine work is to be performed hereunder, including coverage for injurics to or death of masters.
      mates and crews of vessels used in connection with thi Agreement) TO INSURE THE INDEMNITY AND

MSA-NBPR                                                  Exhibit D   1


Ref# MSA-122103




                                                                                                                EXHIBIT 3
                                                                                                                           WHITE 000010
           Case 9:24-cv-00085-MJT                     Document 19-4 Filed 07/24/24                      Page 11 of 38 PageID #:
                                                                  208

                                 2813

    9.         If Contractor elects to self-insure for any of the above habilities, it may self-insure only if it shall first qualify as a
               self-insurer under applicable state and/or federal laws and regulations and obtain Company consent to such as to any
               one or more of the risks as to which coverage is requ red hercin: evidence of such consent must be in writing and
               approved by authorized officer of the Company.


                                                                 End of Exhibit D


                                                                                                                                              t




C   MSA-NB PR
    Ref MMSA-122103
         ry#
                                                                    Exhibit D-3




                                                                                                                          EXHIBIT 3
                                                                                                                                     WHITE 000011
            Case 9:24-cv-00085-MJT                          Document 19-4 Filed 07/24/24                                       Page 12 of 38 PageID #:
                                                                        209




 UCC FINANCING STATEMENT
                                                                                                                                                                                   O
           TGS from and CAREFULLY                                                                                             Fite Number. 201309704846
  6, NAME & PRONE QF GUNTACT AT FILER foptionsal}                                                                         +




 & EMAIL CONTACT AT FILER                                                                                                       C. Betbert Hosemann., Jr
  FilingDept@CSCinfo.com                                                                                                           Secretary of State
$0, SEND KQKWGWZESGN8JT Tce Thame and Address?


          Corporation Service Company

          801 Adlai Stevenson Drive

          Springfield                 IL                        62703
                                                                                                               THE ABOVE BFACE    S SOR FILING OFFICE USE ONLY
 +.   DEBTOR'S EXACT FULL LEGAL NAME emartonly arnatehsor name (ta oc
                                                -
                                                                                      nat           ns   cami names.
             ORDANIZATION'S NAR,


                                                NR3E Wy   SURRY                    FST SON NS                                   SEE6QN0                            SOREN


   MAB ARS  RRS8                                                                                                                SERIE
923 10th Street, Suite          101   PMB 138                                      Floresville                                 TX         78114                   USA
                                                                                                                                                         a Meeredannt's € stoter

2 DEBTOR'SEXACT FNLLAEAAL NAME aroertcody                    debdot   inte fsa        SOUNDER Or               MNES
   Gy ORGANIZATIONSNAME



                                               NAMIE Se                            BRST SHENNRRE


                                                                                   rey                                                                                             C)
                                                                                                                                                                            x




          TCF Equipment Finance, Inc.
      R
          Ne NDIVIQUAL'S LAST NAME (Le. FA8Y NAME or SURKA8S3
i>)
                                                                                            GIVEN NAME                         WSEsonb civin vant


Bc,       MAL                                                                      GY                                           SATE      FROST CODE
11100 Wayzata Blvd. Ste 801                                                       Minnetonka                                   MN         55305                   USA
BTR FINAN GIN STATEMENTcore




One (1) 2013 Peterbilt 388, with a 75,000Ib Brayden Model HP75A Hydraulic Winch ("Property") together with all accessories, attachments, part




TOPSONAL, PRE REP ESPN DATA
                                                                                 A Debtor      PRONSMITTEN OTSSYW
                                                                                                                                                                                   C)
 23192458465721                            001-0634697-500 [74319591]
                                                                                                                  IMernationsl Associaton of Commarsa}                   8I5CA8
                                                    WCCO FINANCING STATEMENT [FORM UGGS)                    REV, ORAFT 052 1109)


                                                                                                                                                    EXHIBIT 3
                                                                                                                                                                    WHITE 000012
              Case 9:24-cv-00085-MJT                            Document 19-4 Filed 07/24/24                                              Page 13 of 38 PageID #:
                                                                            210




    UCC FINANCING STATEMENT
    FOLLOW IE TROI TIONS from and basky CAREFULLY                                                                                    File Number. 201311018
    & NAME S 6F82N8 OF CRONTAC) AY FILER
                                                                           800-331-3282
                                                                                                                                    Date Filed 5 19(20193 44-05 AM
     Gisella Melendez
     BREMAL CQNTAGR AT FILER lopuonall                                                                                                 C. Delbert Hosemann. Jr.
     efiling@wolterskluwer.com                                                                                                                     Secretary of State
          SEND ACKNOWLEDGMENT Tce iName snd Address}

          {ct Lien Solutions
          P.O. Box 29071
                                         CA                         91209-9071
          [Glendale
                                                                                                                     THE ABOVE SPACE iS FOR FILING OFFICE USE ONLY
    t DEBTOR'S EXACT FULL LEGAL NAME                                                      donot sure viele 2:
       te, QRDANFZATJC8S MARS
          i
          iGREENLEAF RESOURCES, INC.
                 NEW BNN3NS LASS NAME [ie PARRY NAME 02 SURNAME                          FIRST 3IVSN   NR                                    SEBRING ONE SAS


    te,bane R53RSE                                                                                                                                    TRUSS ar CURE:      ANS Tay

    923 10TH STREET, SUITE 101 PMB 138                                                   FLORESVILLE                                        TX        78114              USA
     3.                                                                                                               rena     to pungent Season

    2 DEBTOR                                   NAME:          gare dete
                                                                          nants ERC             OOHRS OF
                                 NAME


                                                   NGM    3




                                                                                         CHY                                                 MATE         :   OORT




    3.SECUREDPARTY'S MAMES tar NANG                      ASSIGNEE of                  GIP) scat andy que secured party namie
          fan ORGANIZATEY'S AME
              CATERPILLAR FINANCIAL SERVICES CORPORATION
              RY NOMIDUAL'S LAST NA838S (Le.       NAME or BURMAN                        FIRST GIVEN NAN                                    Sdoonbonan vast              sue
     Ke SARIN                                                                                                                                SFA8     POSTAL COGS        C01NTHY
    2120 WEST END AVE                                                                    NASHVILLE                                          TN        372030986          USA
    4 ERS FINANCANO STATEMENT rd tafaving SORA




    ONE (1) LOAD KING 604 TRAILER S/N: SLKL50462D1028445 And substitutions, replacements, additions and accessions thereto, now owned»




C
     47405087                    MS-0-38061966-47405087
                                                                                            intamakorns dssocaton of Gammerasd                                               AGA}
                                                         FINANCING STATEMENT (FRM UGGS 8R8, DRAFT 032 57491


                                                                                                                                                                   EXHIBIT 3
                                                                                                                                                                         WHITE 000013
              Case 9:24-cv-00085-MJT                              Document 19-4 Filed 07/24/24                                       Page 14 of 38 PageID #:
                                                                              211




    UCC FINANCING STATEMENT
    FOLLOW TS TRUE MONS fron ang bask CAREFULLY                                                                                     File Number. 201310840 15A
           NAME S CH82NN GF CONTACT AT FILER
     4A.
                                                                                                                                  Date Filed: 7/18)2013 2 1036 PM
     CSC
     B. RMA CONTACT AT FILER fogtinnall
                                                                          (800)858-5294       .                                      C. Betbert Hasemann. Jr.
      FilingDept@CSCinfo.com                                                                                                              Secretary of Slate
    $C. SEND ACKNOWLEDGMENT TO: Game and Address:


           Corporation Service Company

            801 Adlai Stevenson Drive

                                        IL                           62703
           [Springfield
                                                                                                                  THE ABOVE SPACE q S FOR FILING OFFICE USE ONLY
    +. DEBTORS         RACT FULL LEGAL NAME        -
                                                        stony anetebsor nace4 (ta.ue th; ®ast sburevinte : oambine Rane
            fia OWDAKIZATJCN S NAR.
-
            Greenleaf Resources, Inc.
    GR                           RARE (1.6 PARRY saa                                  FIRST IVE NAME,                                 SEONG GIVEN NARS                        SURF

    te, BAL WAYS RRRRCSE                                                                                                                       SENAY   ant                   SAV IRy
    923 10th Street Suite 101 PMB 138                                                 Floresville                                     TX      78114                           USA
                                   x                          x                                                              to                                       Teecdants £ stoke
    2 DEBTOR                   FULL LEAL NAME                                                         OF
            2a, ORGANIZATIONSNAME




    220    Bekah fapplkadveesad check peered ota         Tyee                                                                                          a
                                                                                                                                                           Duskhos isu Uecendinet's Eatady

    3. 2   SECUREB PARTY'S NAME car NAMGnf TG TAL ASSSSNE8 of ASSIGN OP?                             mastered Darfy   rant
           fae GROANIATENS&MAME
           iTCF Equipment Finance, Inc.




    BERS FINANCING BTA TEMEA3 capare tia fre ving a




    (1) 2013 Peterbilt 388 w/Pik Rite 4700 Gallon Vacuum Tank ("Property") together with all accessories, attachments, parts, repairs, upgrades, ad:




                                                                                                                                                                                             O
     24290569725391                          001-0634697-501 [78156333]
                                                                                                                        Intammatonal dasocaton of Commaras} Administrators LACA}
                                                       CG FINANCING STATEMENT {FSR 8QC8Y GREY, DRAFT 032ti09}

                                                                                                                                                              EXHIBIT 3
                                                                                                                                                                                WHITE 000014
                   Case 9:24-cv-00085-MJT                     Document 19-4 Filed 07/24/24                                 Page 15 of 38 PageID #:
                                                                          212




c
    UGC FINANCING STATEMENT
    FOLLOW IRBTRUG     from and bask) CAREFULLY                                                                         File Number. 201 1064354   1

    A NAMES EHONE OF CONTACT AT FILER
     Gisella Melendez                                                  800-331-3282
                                                                                                                       Bate Filed: 8/8/2013 277-04 PM
     B. EMAIL CONTACT AT FILER fontionall                                                                                 C. Delbert Hosemann., Jr.
     efiling@wotterskluwer.com                                                                                                Secretary of State
         SEND KQK8GWL8TGMC8T                   Game und Aadressy

          CT Lien Solutions

           P.O. Box 29071
                                          CA                      91209-9071
         [Glendale
                                                                                                              THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
    +.   DEBTOR'S EXACT FILA LEGAL NAME                                  (tor thy doit sbueeviaten: canting
                                                                                 -




           tie. QRDANFZATC8S MAAR
                                RESOURCES, INC.
    GR                         CAST NAME [le PARITY NAME or SURNAME,             Fike) SVEN NAME                             SECOND GIVEN RAE            SHER

     te. DanWE R53R38                                                                                                               PORT Ay Cat:

    923 10TH STREET, SUITE 101 PMB 138                                           FLORESVILLE                                TX      78114                USA


               Sy ORGANIZATION NAME




         RA8L8N2ADDRESS




                   ORGANIZATIONS Nau
                   ATERPILLAR FINANCIAL SERVICES CORPORATION
                    INOPVHUAQS1AST NAR (ce. NAME of SURKAKS3 Frag? Savon NAME                                                                            SURE

    ke   MAILING




    2120 WEST END AVE                                                            NASHVILLE                                  sTN      72030986            USA




    ONE (1) CATERPILLAR D6TXWVP TRACK TYPE TRACTOR S/N: RCW01165 ONE (1) CATERPILLAR D6TXL TRACK TYPE TRACTOR S/N:




                   Pralic.Fated Thanked                                                                                               et                Fang


    P4C1CRALR REE RPS ENON DATA
     47681969                     MS-0-39319301-47681969
                                                                                                           Infarnahosia! Assodatun of Cammarsa} Adrizatrators
                                                    VCO FINANCING STATEMENT                    UGGS) (REV, DRAFT 032 1209)


                                                                                                                                                EXHIBIT 3
                                                                                                                                                         WHITE 000015
         Case 9:24-cv-00085-MJT                                   Document 19-4 Filed 07/24/24                                               Page 16 of 38 PageID #:
                                                                              213




UCC FINANCING STATEMENT
     HWS TRS GSS (from and bask CAREFULLY                                                                                               Fite Number: 201312030666
       NAME & PRUNE OF CONTACT AT FILER
 4A.

 Gisella Melendez                                                         800-331 3282
                                                                                                                                      Date Filed: 12/2/2013 10:3701 AM
 & RAM CONTACT AT FILER                                                                                                                   C. Delbert Hosemann. Jr
  efiling@wolterskluwer.com                                                                                                                         Secretary of State
       SEND KCKNOWLEQGMENT                Name snd Address}

       CT Lien Solutions

       P.O. Box 29071
                                   CA                               91209-9071
       [Glendale
                                                                                                                    THE ABOVE SPACE iS SOR TILING OFFIGE USE ONLY
 t. DEBTOR'S EXACT FULL LEGAL NAMS            -
                                                            ane deb sor 'metry   (he         nat sburevinte a: combine nama
       ORGANIZATIONS NARS
       GREENLEAF RESOURCES, INC.
                       DAS NAME fhe, PARAL K NAHE Sy SURNAME                               PARSE SVEN NATE,                                  : SFEEQN0 GIVEN NAME         SUFFI

14, BAC WS R53RS8                                                                      Tent                                                   SERIE      RATER
313 Telly Rd PMB 16                                                                        Picaynne                                          MS          g9466           USA

2      DEBTOR           FY FL LEGAL NAME
                                                      a                 rante Fae
                                                                                                                 wedi         to   carpe Aaks yutrcort       OH
                                                           gare
        Sy OAGANIZATION'SNAME



                                                                                       3
                                                                                       3
                                                                                       3

                                                                                       3
                                                                                       3




 3.    SECURED PARTY'S NAME                       TG TAL                                             ae         Party amie % ot 2D}
        33 OR0AAN02ZATI8RS MAME
        HOLT CAT
          INDIVIQUAR'S LAST Natit fue   FA8Y NAME or SURNAM                                FIyst Given NAME                                  WES OND Givin Nant


 Ke, MAING AIJRRSS                                                                         ony                                                MATS       POSTS CHS
P. O. BOX 207916                                                                           SAN ANTONIO                                       TX          78220-7916      USA
 4. ERS TINANGING STATEMENTcored                    OATeral




ONE (1) CATERPILLAR MODEL CS56B CAB TRACK TYPE TRACTOR, S/N OL8H00577 COMPLETE WITH ALL SUBSTITUTIONS, REPLAC




                                                                                                                                                                                  O
 47995623                  MS-0-40852078-47995623
                                                                                                                        international Besociatun of Gommerss} Adnitabatrs {ACA}
                                                  NJFCE FINANCING STATEMENT {FORM                       UGC) REV, DRAFT 052 009}


                                                                                                                                                                    EXHIBIT 3
                                                                                                                                                                           WHITE 000016
            Case 9:24-cv-00085-MJT                   Document 19-4 Filed 07/24/24                                   Page 17 of 38 PageID #:
                                                                 214




     UCC FINANCING STATEMENT
     FOLLOW 04STR94NFCS (front and bask? CAREFULLY                                                                 File Number: 2013 1203557A

     5. EMAIL CONTACT AT FILER                                                                                       C. Betbert Hasamann. Jr.
      efiling@wolterskluwer.com                                                                                         Secretary of State
        BENG ACKNOWLEDGMENT To: Name and Address;

          CT Lien Solutions

          P.O. Box 29071
                                     CA                 91209-9071
          [Glendale
                                                                                                      THE ABOVE SPACE 15. FOR FILING OFFIGE USE ONLY
     1.   DEBTOR'S EXACT FLLA LEGAL NAN    -
                                                                     (ht ue      nat        ns combine Names,
           83 ORDENIZATION S MARR.
~
                 ENLEAF                   INC.
                                                                              FERS4 SINS NAME                        SSHE62QNQ GIVER NAME                  SUFFI

     ic,      RRRCS8                                                          erty                                                                                   ey
    313 Telly Rd PMB 16                                                       Picaynne                               oe       39466                        USA
                                                                                                                                              ey 3 Shee wdannt's € stot
                                                                                                                                    NM




                                          NAMESBORNE                          PRRSS NEN ARSE                              SNEWS


                                                             Trost            Sede ak   Tren       VIR DER IS      MEDS ERT                       Mercadian




           HOLT CAT
    ORF
             IND8VIQUAQS LAST NAS85 (Ge   RAMI or SURKAKS3                           GiVEN NAR                      SEoonv ent yank                      NTN
    Ke, MALIN   ANDRESS                                                       ony                                    MATE     [ROSTET one
    P. O. BOX 207916                                                          SAN ANTONIO                           TX        78220-7916                  USA
    ANE FINANCING STATEMENT tip tating Soha




    ONE (1) CATERPILLAR MODEL 336EL TRACK TYPE TRACTOR, S/N OBZY02235 COMPLETE WITH ALL SUBSTITUTIONS, REPLACEME




    F0S8WAD PGE RAPS8SW6DS DATA
     47996488                MS-0-40856084-47996488
                                                                                      intarnational Associaton of Commeras}                                      ADA}
                                                 FINANCING STATEMENT {FORM UGGS) REV, OR8F OSs TG]


                                                                                                                                            EXHIBIT 3
                                                                                                                                                            WHITE 000017
        Case 9:24-cv-00085-MJT                         Document 19-4 Filed 07/24/24                              Page 18 of 38 PageID #:
                                                                   215

                                                             130476627
UCC FINANCING STATEMENT
 SLOW INBTRUG TICS from and back CAREFULLY                                                                    File Number. 203312T71404
NAGES PHONE OF CONTACT AT FER                                                                              Date Filed: 12/16/2013 12:39:47 PM
 Gisella Melendez                                            800-331-3282
&.    EMA CONTACT AT FILER loptnnall                                                                            C. Delbert Hosemamn, Jr.
     efiling@wolterskluwer.com                                                                                      Secretary of State
0. GEN ACRNGLEDEMENT Tak Name and Address}
      CT Lien Solutions

      P.O. Box 29071
      Glendale                       CA                   91209-9071
                                                                                               THE ABOVE SPACE iS SOR FILING OFFICE USE ONLY
1.   DEBTOR'S RXACT RULE LEGALNAME.arstarhoatyarated            ( Boe    do net AURVINA   I    NANA
         OADANIZATNIONS NARS.
       idGREENLEAF RESOURCES, INC.
                                                                         PARSE     GIN NAR                       SSRCONA GIVER NAME


ig           ROQREST                                                     Cry                                     ts
                                                                                                                                                   SueAltRy
923 10TH ST, STE 101 PMB 138                                              PICAYUNE                               3MS               9466            USA
14.howd any                   4   agift

2 DEBTOR'SEXACT FULL LEAL NAME -troartectty          RR          Ea got Bh US OG
                                                                                    ae


                                                                                   MERE   Oo   FHP   HS
                                                                                                                              [3
                                                                                                                                   A           a          €



                 NAME


                          LAST NAME &                                              RAEN


                                                                                                                                                      :


                                     "ow
3.SECUREDPARTY'SNAME tov NAMGin! TG TAL AS
       OB ORGANIZATIONS BANE

       CATERPILLAR FINANCIAL SERVICES CORPORATION
                                                                                                                  wa
                          LAST NAR                                       Brest Given NAME                                  SIND GIVEN TARR



oe    MAING SODA ESS                                                     ony
2120 WEST END AVE                                                         NASHVILLE                                   TN        37203               USA
        FVANT AN? STATEMENT capers ton
ONE (1) CATERPILLAR TL943C TELEHANDLER S/N: THH00194
And all other equipment, together with all attachments, accessories and accessions thereto and all replacements and substitutions
therefore, heretofore or hereafter leased, sold pursuant to installment sale or financed by secured party whether as lessor, seller or
secured party to or for debtor whether as lessee, buyer or debtor.




Sis        ly CUARRAMS BAT ETON RY                                                                          BR Raw fey             BAA WT

         Pubbe-Fatannah                    AGNURFone Patients                                                                                      Fling


                                  DATA
     48037627                 MS~0-41026579-48037627
                                                                                                     infarnahonal Associaton of Gamma} Adminatetoys ACA}
                                               WCS FINANCING STATEMENT (FORM UGGS) (REV, DRAFT G62 t 209}



                                                                                                                                             EXHIBIT 3
                                                                                                                                                     WHITE 000018
                 Case 9:24-cv-00085-MJT                             Document 19-4 Filed 07/24/24                                     Page 19 of 38 PageID #:
                                                                                216


                                                                                130476630
c
       UCC FINANCING STATEMENT
       FCLLQW (NS TR04N TRS (from and backs CAREFULLY                                                                                             201312
        6, NAME S PRONE GF CR2NTAC3 AT FILER joptionaly
        Gisella Melendez                                                         800-331-3282
                                                                                                                                 Date Filed: 12/16/2013 1221:19 PM
        & EMAL CONTACT AT FILER                                                                                                          Detbert Hosemann., Jr.
            efiling@wolterskluwer.com                                                                                                     Secretary of State
             SEND ACKNOWLEDGMENT TO: iWame and Address:

                 CT Lien Solutions

                 P.O. Box 29071
                                            CA                           91209-9071
                                                                                                                       THE ABOVE SPACE JS. FOR FILING OFFICE USE ONLY
       1.   DEBTOR'S EXACT FULL LEGAL NAMB ansartomty sede name(ha
                                                      -
                                                                                                            ns   caine Rams,
                 to, ORBAN ZATION § MAREE
                 GREENLEAF RESOURCES, INC.
                                LAST NAME The PARRY NR33E Sy SURNAM                     FIRST IVS      NAR                            :         GIVEtee


       fn, BARNBRDORERA
       923 10TH ST, STE 101 PMB 138                                                     PICAYUNE                                          MS         9466         USA
                                                                      we Trost                                                                                            stole

       2 DEBTOR'SEXACS FUEL LEGAL MAME -trotertocsly gang defor narnia
                                  SAME

                    AHEADSERS REE P'S F30AEY REMESS                                     BRST SVEN R8388                                   SECTYOVEN aNRE          SPE
             :

                                                                                                                                                                    any




       20                                                                    Trust

       3.   SECURED PARTY'S MAME car                  TG TAL                                    analy aoe
             PAW ORGANZA TION'S NAMI

                 CATERPILLAR FINANCIAL SERVICES CORPORATION




       af, Tre FINANCANG STA TEMEA7 copies   tanning
    "ONE (1) CATERPILLAR TL943C TELEHANDLER S/N: THH00195
       And all other equipment, together with all attachments, accessories and accessions thereto and all replacements and substitutions
       therefore, heretofore or hereafter leased, sold pursuant to installment sale or financed by secured party whether as lessor, seller or
       secured party to or for debtor whether as lessee, buyer or debtor.




       SALT ERNATIVE PESISNATFCN, Soak only      48          and cheek aug
                                                                                                                  [consisnce-consianay
       FOPTONG, PER REFSAGE DATA
        48037628                    MS~0-41026596-48037628
                                                                                                                                                of
                                                          NJCE FINANCING STATEMENT {FORM UCGS) GEV, ORFT 05/7 109;


                                                                                                                                                            EXHIBIT 3
                                                                                                                                                                  WHITE 000019
        Case 9:24-cv-00085-MJT                         Document 19-4 Filed 07/24/24                                   Page 20 of 38 PageID #:
                                                                   217

                                                               140008672
UCC FINANCING STATEMENT
             INSTRUG TOUS from and bask? CAREFULLY                                                                  Fite Number 2014123874 7A,
      NAME S FH82NN GF CRNTAQ3 AT FILER fontionsl}
3A.

 Gisella Melendez                                               800-331-3282
                                                                                                                  Bate Filed: 1/9/2044 12:28:17 PM
& EMAIL CONTACT AT FILER                                                                                              C. Betbert Hesemann, Jr.
 efiling@wolterskluwer.com                                                                                                Secretary of State
  SEND ACKNOWLEDGMENT TO: iName snd Address?

       CT Lien Solutions

       P.O, Box 29071
       Glendale                   CA                      91209-9071
                                                                                                        THE ABOVE SPAGE S SOR FILING OFFICE USE ONLY
+.    DEBTOR'S       ACT FLL LEGAL AME             angatebsar marae (hoe thy de nat sboreviale a: combine names
         ORDONIZATION'S wake,
       GREENLEAF RESOURCES, INC.
                     S LAST NARS the PARRY NAME oy SURWARD)                 FIRST 3INSN NAGE                          SERS                            SOREN


tg, ban aesABBAESE                                                         erty                                        STATE   TSB RY Cet:           TRARY
923 10TH STREET, SUITE 101 PMB 138                                           FLORESVILLE                              TX       78114                  USA
4d.                                                tetrs s Trane                                                                                         € stage

2 DEBTOR      SEXAT FULL LEAL NAME WOMEhaa
         ORGANIZATIONS NAME

                                                                                                                                                        MA
                                                                                                                                                      IS RELY



SP     ATR ADR SE                                                           BY                                       +DAE

3.SECURED          PARTY'S NAME
       33 ORGANIATION'S BARI
       CATERPILLAR FINANCIAL SERVICES CORPORATION
OR                                                                          BAST GvaN HARE                            SS8NS88 Given HARE             SUR AN
         INDIVIDUALS LAST NAME (ce. FAES.Y RARE of SURNAME]


3c, MARR A08JHRSS                                                                                                     FIRE     BOSSA EIS
2120 WEST END AVE                                                           NASHVILLE                                 TN       37203                  USA


ONE (1) CATERPILLAR CP56 VIBRATORY COMPACTOR S/N: C5P00680
And all other equipment, together with all attachments, accessories and accessions thereto and all replacements and substitutions
therefore, heretofore or hereafter leased, sold pursuant to instaliment sale or financed by secured party whether as lessor, seller or
secured party to or for debtor whether as lessee, buyer or debtor.




Ses. Chace    is        any cheek Rey nena
                                                                            Debtors & TRR68BRWT8NQ OSS8TW


    + coe FREE RAPE9ESNCQ DATA
  48115276           MS-0-41318310-48115276
                                                                                                                    Assodaton of TORTSES      Adraiustators ADA}
                                             UC FINANCING STATEMENT (FISRR UGGS) UREV, DRAFT 08r2 87091

                                                                                                                                             EXHIBIT 3
                                                                                                                                                       WHITE 000020
               Case 9:24-cv-00085-MJT                                   Document 19-4 Filed 07/24/24                                Page 21 of 38 PageID #:
                                                                                    218

                                                                             140008675
c
        UCC FINANCING STATEMENT
        POLLQW IQ4STRON TIONS from and bas CAREFULLY                                                                             File Number 20141238 49A,
        A. NAME, & PHONE QF CRNTAQ3 AT FILER fontional}
            Gisella Melendez
                                                                                                                               Bate Filed: 1/9/2044 12:25:56 PM
        &. EMAIL CONTACT AT FILER                                                                                                  C. Betbert Hos emann. Jr.
             efiling@wolterskluwer.com                                                                                                 Secretary of Siete
        C. SENG ACKNOWLEDGMENT To iwame and Address:

              CT Lien Solutions

              P.O. Box 29071
                                          CA                              91209-9071
                                                                                                                  THE ABOVE SPACE S SOR FILING OFFICE USE ONLY
        1.   DEBTOR'S EXACT FULL LEGAL NAME sccerosty grgnatedbsur mate (Lace thydo nataburevinte os cambine names
                                                       -



              tie ORDANIZATION MARR
                 GREENLEAF RESOURCES, INC.
                             DST NANT The PANY NAMESy 0ORNA8N                   FIRST 6IVSN NAME                                     SEASONS                              SUPER


        31, MARRS ADDRESS                                                                                                            SATE
        923 10TH STREET, SUITE 101 PMB 138                                             FLORESVILLE                                   TX        78114                      USA
        fd Chu quty apatoradshs         ances det
        2 DEBTOR SEXACX FNLLLEGAC                          nrowrteoty          Riv
             ONGANIZATION'SNAME

        CR


                                                                                                                                                                          COL5NF3Y



                                                              L                              Be TS   ROD ACE Cg    CORTE RG CONTE

                                                                                                              party rare {9a SAN}
                                                                                                                                    ES
                                                                                                                                                    LJ   Dobiotix x Ueeastinds


              3B OR0AN02ATK88 S MAME
               CATERPILLAR FINANCIAL SERVICES CORPORATION


        ec. MAILING ANDROS                                                             eny                                           FATE      [ROSTACCOOR                CONNT8Y
        2120 WEST END AVE                                                              NASHVILLE                                     TN        37203                      USA
        4       F1NANC8NQ8 BTR TEMENTcomers     tatawing
    ™
        ONE (1) CATERPILLAR RM-500 ROAD RECLAIMER S/N: ASW00404
        And all other equipment, together with all attachments, accessories and accessions thereto and all replacements and substitutions
        therefore, heretofore or hereafter leased, sold pursuant to instaliment sale or financed by secured party whether as lessor, seller or
        secured party to or for debtor whether as lessee, buyer or debtor.




                                            BNE NAY,



C
        7. OP RAL        ER REFEREE DATS,
            48115295              MS-0-41318373-48115295
                                                                                                                      internehons! Associaton of Gamnmerssd Adminatretes
                                                           UC FINANCING STATEMENT {FORM UGGS) (REY, DRAFT ON2

                                                                                                                                                          EXHIBIT 3
                                                                                                                                                                           WHITE 000021
               Case 9:24-cv-00085-MJT                                   Document 19-4 Filed 07/24/24                                                    Page 22 of 38 PageID #:
                                                                                    219

                                                                               140105636
UCC FINANCING STATEMENT
FOLLOW INSTRUM FiGaus from and back: CAREFULLY                                                                                                  File Number ?G14 1300638A
4, NAME. & PHONE OF CONTACT AT FILER loptionsal}
   Gisella Melendez                                                            800-331-3282
                                                                                                                                               Date Filed: 4/3/2014 93428 AM
 8. EMAIL CONTACT AT FILER optional                                                                                                               C. Delbert Hosemann,
       efiling@wolterskiuwer.com                                                                                                                      Secretary of State
           SEND ACKNOWL               TO: ivame and Address}

            CT Lien Solutions

            P.O. Box 29071
            Glendale                  CA                                    91209-9071
                                                                                                                           THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
t. DEBTOR'S EXACT FULL LEGAL NAME                     -
                                                               osty          manne{   tao tb) -aho nat sbureviate : cembine names
    aw ORGANIZATIONS MARE.

            GREENLEAF RESOURCES, INC.
       R
GREP
                            AS8                                                             FIRS GIVEN NARS                                              SHESQN3 GIVEN NAME              SMFFIX


tn MAINGASBRESS                                                                                                                                          BAPE           soak            TERN TRY
923 10TH STREET, SUITE 101 PMB 138                                                              FLORESVILLE                                                        78114                 USA
                                                                                                Dradbgares Trasotees acting madd: essen? to gaarpenty aeht

2 DEO EBTOR            FULL LEGAL NAME -inoeyteeny                    ara                   :
            aa
         RRSANIZATION'S NAME


Dt Ae RAVI                 TA                                                               RST SVEN NA88E                                               SECT      RE


wt         PARTE INES                                                                                                                                  TATE       ASTKM Gar



                                                             TT .
3.SECUREDPARTY'SNAME [or NAM                      NAMES   T6 TAL ASSUSNER of ASSISAOR     PY
            wo RASNIZATICHYS RANI
            CATERPILLAR FINANCIAL SERVICES CORPORATION




A. Enis FRANCANG STATEMENT              tin
ONE (1) CATERPILLAR 279D COMPACT TRACK LOADER S/N: GTL00622 & fORKS
ONE (1) CATERPILLAR 84" BUCKET NO S/N
And substitutions, replacements, additions and accessions thereto, now owned or hereafter acquired and proceeds thereof.




                                       Cl +
Sa Chace gay tga        abs arg than Ah ue hae                                                                                                  DS CORN og      PRD WT BIT NTR
                            see
8.ALTERNATIVEDESIGNATION,Chickany app tage Bg$ Chk BUY CARON
     TAAL PLE RE PEPE DATS,
                                              d
                                                                                                                                     vy

                                                                                                                             CONSIGNEL,MAE8SIGPR8
                                                                                                                                                                                 rs

                                                                                                                                                                                      SEELEYIE     O
   48400106        MS~0~42717343-48400106

                                                          UCE FINANCING STATEMENT {FORM UGCT) G8EV, DRAFT 05/2 t 7007



                                                                                                                                                                               EXHIBIT 3
                                                                                                                                                                                          WHITE 000022
                 Case 9:24-cv-00085-MJT                                         Document 19-4 Filed 07/24/24                                               Page 23 of 38 PageID #:
                                                                                            220

                                                                                            170160805

                                                                                                                                                File Number. 201722652506
    UCC FINANCING STATEMENT AMENDMENT                                                                                                      Date Filed: 4/28/2037 1204:58 AM
    FOLLOW NSTRUCTIONS                                                                                                                         €. Delbert Hosemamn, Jr.
     A NAVE &PHONE CONTACT AT FILER (optional)
           UCC Direct Services                                                             800-331-3282
                                                                                                                                                   Secretary of State
     B. EMAI_                         FILER (optional)
          efiling@wolterskluwer.com
     C. SEND                                      (Name and Address)



                        CT Lien Solutions
                                                                                                      7
                        P.O. Box 29071
                        Glendale, CA 91209-9071

                                                                                                                                    THE ABOVE SPACE IS FOR F NG OFF CE USE ONLY
     da INTIAL FINANCING STATEMENT FILE NUMBER                                                         1b      This FINANCING STATEMENT AMENDMENT isto be filed [for record]
                                                                                                               (oF recorded) in the REAL ESTATE RECORDS
         20141300636A                                                                                          From attach Amandment Addendum (Form U0C3Ad) and provide Dabtor's name in item13

    2         TERMINATION Effectiveness of the Financing Statement identified abave is terminated with respect to the security nterest(s) of Secured Party authorizing this Termination
               Statement
    3.        ASSIGNMENT (full or partial} Provide name of Assignee in itam 7a or 7b and               Assignee in item 7c and name of Assignorin item 9
               For partial asianment complete items 7 and 9 and also indicate affected collateral in itam 8
    4         CONTINUATION Effectiveness of the Financing Statement dentified above with respect to the security interest(s) of Secured Party authorizing this Continuation Statement is
               continued for the additional period provided by applicable law
    5    [_] PARTY INFORMATION CHANGE
         Check ane of these two baxes                                          AND       one    thesa threa boas to
         This Change affects      0
                                 Debtor         Secured            record
                                                                                          Ga                   or
                                                                                                                      Complete
                                                                                                                      ang tem 7c
                                                                                                                                        ADO name Complete item
                                                                                                                                        7a ot 7b and itam 7c              to be             item   or 6b

    6. CURRENT RECORD    NFORMATION Complete for Party information Change provide onlyeng name (6a or 6b)
              ORGANZATIONS NAME

    OR
         6b    NVDUALSURNAME                                            FiRST PERSONAL NAME                                 ADDITIONAL NAME(SYINTIAL(S)                                       SUFFIX


    7.                   ADDED NFORMATION. Complete to Assignment or Party information Change provide onlyone name (7a or 7b) {use exact full name or modify appreciate any part cf the Dabtors
    name
         fa ORGANIZATIONS NAME

    OR 7b                    SURNAME


                             FIRST PERSONAL NAME


              NDIVIDUAL'S ADDITIONAL NAME(SYINITIAL(S)                                                                                                                                    SUFFIX


    7c. MAILING ADDRESS                                               CITY                                               STATE             POSTAL CODE


    8         COLLATERAL CHANGE Also check               of these four boxes    LJ ADD collateral             DELETE collateral       LJ RSTATE covered collateral                ASSIGN collateral
              indicate collateral




    9 NAME OF SECURED PARTY OF RECORD AUTHORIZING THIS AMENDMENT: Provide only one name @a or 9b\name cof Asdgnor if this is an Asi gnment)
         thisis an Amendment authorized by a DEBTOR check here                 and provide the name cf authorizing Dabtor
              ORGANIZATION NAME

    OR
          CATERPILLAR FINANCIAL SERVICES CORPORATION
         9D SNDIVIDUAL'S SURNAME        RST PERSONAL NAME                                                                   ADDITIONAL NAME(SYINTIAL(S)                                       SUFFIX


    10 OPTIONAL FILER REFERENCE DATA


C        MS-0-58673503-53217216
    FILING OFFICE COPY UCC FINANCING STATEMENT (Form UCC3\Rev 04/20/11)
                              -




                                                                                                                                                                                     EXHIBIT 3
                                                                                                                                                                                                       WHITE 000023
                Case 9:24-cv-00085-MJT                               Document 19-4 Filed 07/24/24                             Page 24 of 38 PageID #:
                                                                                 221

                                                                             140292664
    UCC FINANCING STATEMENT
    FOLLOW INSTRUC TONS front and bask CAREFULLY                                                                         File Number 20141 14467A
     6. NAME. & FROME OF CONTACT AT FILER
     Gisella Melendez                                                        800-331-3282
                                                                                                                        Date Filed: 8/4/2044 21255 PM
    B. EMAI         CONTACT AT FILER                                                                                       C. Delbert Hesemann. Jr.
      efiling@wolterskiuwer.com                                                                                                      Secretary of State
    C. S85NO ACKNOWLEDGMENT TO:                 iName aad Address}

           [oT Lien Solutions

               P.O. Box 29071
               Glendale                  CA                              91209-9071
                                                                                                               THE ABOVE SPACE S FOR FILING OFFICE USE ONLY
    t DEBTOR'S EXACT FULL LEGAL NAME              -                               th)     nat


-              GREENLEAF RESOURCES INC.
                  WENO LA3Y NAW [Le4qPARRY NAME SURRY                                   FIRST SVEN NARS                        SHS2QN3 SVEN   ARS                    SOREN


    ts Aan WB 9RRRESS                                                                                                          STARE    PACER                               he
    923 10TH STREET, SUITE 101 PMB 138                                                  PIGAYUNE                               TX        39466                       USA
                                                                          Jrugh

    2 DEBTOR'SEXAGT FULL LEGAL NAME




    3.SECUREDPARTY'SNAME far NAMGal TOTAL ASSIGNEE of S5IS8JS SP) eigactonty
               ae ORGANIZATIONS RAMEE
           }   CATERPILLAR FINANCIAL SERVICES CORPORATION
                 INDIVIDUAL'S LAST NAME (Le. FAMILY NAME of                             FIRST SIVAN HARE                       SECS GIVER MARE                       SUE EX


    Fo MAILNES SOTA EGS                                                                   €                                             POSTAL CORE
    2120 WEST END AVE                                                                   NASHVILLE                              TN        372030986                    USA
    4, Trig TINANCANO STATEMENT                        oo

    ONE (1) CATERPILLAR CS56 VIBRATORY COMPACTOR S/N: C5S01569
    And all other equipment, together with all attachments, accessories and accessions thereto and all replacements and substitutions
    therefore, heretofore or hereafter leased, sold pursuant to instaliment sale or financed by secured party whether as lessor, seller or
    secured party to or for debtor whether as lessee, buyer or debtor.




    Say,          uty FEARS Be Haw wy UNE Nee                                                                               Gree ody fracas eid         getty

                                                                                                                                                          i
                                          CI:                    ¢   3                          2          a       v




    B.ALTERNATIVEDESIGAATICIN,Tk                d ADDRDY    gS            URN            esseazacce                    LON SIGPE88                  t
                                                                                                                                                                SELLE PABUYER:
    "  TAAL,      RCR23P8EWZ88 DAT
      48872489                    MS-0-44360929-48872489
                                                                                              Infarnatosal dssociaton of Commercial Adsnizustrators ADA}
                                                      UC® FINANCING STATEMENT (FORM UGC) REV, DRAFT 052 t 2091



                                                                                                                                                    EXHIBIT 3
                                                                                                                                                                      WHITE 000024
             Case 9:24-cv-00085-MJT                               Document 19-4 Filed 07/24/24                                        Page 25 of 38 PageID #:
                                                                              222

                                                                           140292668
c
    UCC FINANCING STATEMENT
    FOLLOW INSTRU FKCMS             fry
                               and back) CAREFULLY                                                                                   File Number. 20141414409A
     6. NAME & FH82NE OF CONTAG) &t FER optional}
                                                                           800-331-3282
                                                                                                                                Date Filed: 8/4/2014 315:12 PM
     Gisella Melendez
    B. EMAIL CONTACT AT FILER optional                                                                                             C. Delbert Hosemann
     efiling@wolterskiuwer.com                                                                                                             Secretary of State
         SEND ACKNOWLEDGMENT TO:                         and Address}


         [oT Lien Solutions

             P.O. Box 29071
             Glendale                     CA                            91209-9071
                                                                                                                   THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
    {. DEBTOR'S EXACT FULL LEGAL NAME weer} oy gaa  -
                                                                         mare (lage th) donot abbreviate or
                                                                                       -
                                                                                                                   ma,
        tn ORDAN ZATION S NARI.
             GREENLEAF RESOURCES INC.
                              DST NAR       PARE REET3                                  FIRST SVE


    ts ban Be) ADBRESS                                                                                                                 Srafe         ST CURE
    923 10TH STREET, SUITE 101 PMB 138                                                     PICAYUNE                                    X             39466
                                                                   sae Trost                                              to                cy   t


    2 DEBTOR'SEXACT FSLLLEGAL NAME                       pricey
         ORGANIZATIONSNAME


                          SERS N6ME E E FA


    On   PARILING ALLURE Se                                                                                                                                                        COUNTRY




    3.SECUREDPARTY'SNAVE tar NAMBof PG TAL ASSIGNEE of 6S5I6N3 SA) cauct goty                          secures party     {Ya ot hh
             Se ONGAN02ATEFRS SHAME
         i   CATERPILLAR FINANCIAL SERVICES CORPORATION
    OR                                                                                  Fast SVEN WAANH                                                                            SUE FN
             YW. INDIVIDUALS LAST NAME      FAMILY MAME ot SURNAME)


    SC MAILING SOURESS                                                                                                                 SATE          POSTAN
    2120 WEST END AVE                                                                      NASHVILLE                                   TN            372030986                      USA
                         STATEMENT
    ONE (1) CATERPILLAR 420FIT BACKHOE LOADER S/N: JWJ00211 WITH 24" HD ROCK BUCKET, 1.5CYD GP BUCKET AND
    FORK CARRIAGE
    And all other equipment, together with all attachments, accessories and accessions thereto and all replacements and substitutions
    therefore, heretofore or hereafter leased, sold pursuant to installment sale or financed by secured party whether as lessor, seller or
    secured party to or for debtor whether as lessee, buyer or debtor.




    $3 Chee          SA RAS as cha       A V Eaye                                                                               So STARK                    BT]   atk,GO 9 a HAE
C   A.ALTERNATIVEDESIGNATION,
                                                            fuse Pasa,                  Debtor? FR5N3F80X TING OTTY                                   kee                          Fang
                                                                                                                                                                           SELLER eLYER
                    FUER RE FES   AE DATS
     48872513                     MS-0-44360976-48872513
                                                                                                                       Intarnghotal dasodaton of Vammeras Admizstrators HOA}
                                                        UCC FINANCING STATEMENT {FORM UGCT) GREY, DRAFT 05/2 t 14}


                                                                                                                                                                    EXHIBIT 3
                                                                                                                                                                                    WHITE 000025
          Case 9:24-cv-00085-MJT                                        Document 19-4 Filed 07/24/24                                                Page 26 of 38 PageID #:
                                                                                    223

                                                                                                150205024

UCC FINANCING STATEMENT
                                                                                                                                         File Number: 201516680326
                                                                                                                                        Bate Filed: 6/3/2015 2:06: #4 Pk
                                                                                                                                                                                                      O
FOLLOW INSTRUCTIONS                                                                                                                         C. Delbert Hosemnnim, Jr
A. NAME & PHONE OF CONTACT AT FILER (optional)
     SUZETTE ANDERSON                                                              318-256-7000
                                                                                                                                                Secretary of Slate
B. EMAIL CONTACT AT FILER {optional}

     S_anderson@sabinebank.com
C. SEND ACKNOWLEDGMENT TO: (Name and Address)



                GREENLEAF RESOURCES, INC.
                313 TELLY RD PMB 16
                 PICAYUNE, MS 39466-5552

                                                                                                                                 THE ABOVE SPACE IS FOR F LING OFF CE USE ONLY
1. DEBTOR'S NAME Provide only one Debtor Name (1a or buss exact, full name: do not omit modify or abbreviate any part of the Debtor's Name) if any part of the ndividual Dabtor's
   name will not fit in line 1b leave all of item 1 blank check here _Jand provide the ndividual Debtor information in item 10 of the Financing Statement Addendum (Fon UCCIAd)

     1a. ORGANIZATION NAME

R GREENLEAF RESOURCES, INC.
     4b. NOVDUAL'S SURNAME                                     FIRST PERSONAL NAME                              ADDITIONAL NANMES)INTAL(S)


tc. MALNG ADDRESS                                                                                               STATE                   POSTAL CODE
 313 Telly Road, Pmb 16                                         Picayune                                         MS                      39466                                     US
2. DEBTOR'S N&ME Provide onl yne Debtor Name (2a of 2bYuse exact full name. do not omit. modify or abbraviate any part of the Debtor's Name} if any part of the ndividual Debtor's
   name will not fit inline 2b leave all of item 2 blank, check here and provide the ndividual Dabter nformation in item 10 of the Financing Statament Adendum (Form UCCi Ad)

     2a. ORGANIZATION NAME

OR
     2b. NONVDUAL'S SURNAME                                    FIRST PERSONAL NAIVE                             ADDITIONAL NANES)INTIL(S)                                         'SUFIX


2c. MALNG ADDRESS                                              CITY                                             STATE                   POSTAL OOEE


3. SECURED PARTY'S NAME (or NAME of ASS GEE of ASS GNOR SECURED PARTY). Provide only one Secured Party name (3a or 3b)
     3a. ORGANIZATION NAME

OR   SABNE STATE BANK & TRUST CO.
     9%. INDIVIDUAL'S SURNAME                                  FIRST FSONAL NAME                                ADDITIONAL NAMA S)/NTIAL(S)                                       SUFFIX


3c. MALNG ADDRESS                                             CTY                                               STATE                   FOSTAL OOEE
 297 ELIZABETH ST                                               MANY                                             LA                      71449-3082                                US
4, COLLATERAL:            This'inancing statement coversthe following collateral
ANY AND ALL MASTER SERVICE AGREEMENTS BY AND BETWEEN ANY AND ALL COMPANIES (VENDORS), GREELEAF
RESOURCES, INC AND SABINE STATE BANK & TRUST CO. ENGAGED IN ANY BUSINESS OPERATION; ANY AND ALL
ACCOUNTS RECEIVABLES, MONIES, AND INCOME DERIVED FROM BUSINESS OPERATIONS: PURCHASE MONEY
SECURITY INTEREST IN ALL INVENTORY, CHATTEL PAPER, ACCOUNTS, EQUIPMENT, MONIES, INSSURANCE PROCEEDS
AND GENERAL INTANGIBLES




5. Checkonly if applicable and checkgnly one box. Collateral is          held in a Trust (sae UCCIAd item 17 and instructions)           bsing administered by a Dacedent's Personal Representative

6a Check oniy if applicable and checkgnly one box                                                                                        6b Check gnly f applicable and check       one box:
      ] PublicFinanes Transaction [_] Manufactured Home Transaction                      A Debtor isa Transmitting Utility                        Agricultural Lien    o    Non-UCC Filing

7. ALTERNAT VE DES GNATON(if applicable)
                                                       []                          0
                                                                                                                                                                                                      O
                                                 Lessee/Lessor                         Consignea/Consignar               'Selle/Buyer        [_] BaileeBailor              Licensee/Licensor

8. OPT ONAL FLER REFERENCE DATA

     LOAN 140010-25
FILING OFFICE COPY    -
                          UCC NANG. NG STATEMENT (Form UCC1\Rev 08/23/11)




                                                                                                                                                                                EXHIBIT 3
                                                                                                                                                                                               WHITE 000026
          Case 9:24-cv-00085-MJT                                   Document 19-4 Filed 07/24/24                                                 Page 27 of 38 PageID #:
                                                                               224




                                                                                                                                          Fite Number
    UCC FINANCING STATEMENT                                                                                                                                                                      AM
    FOLLOW INSTRUCTIONS
    A. NAME & PHONE OF CONTACT AT FILER (optional)
         Phone: (800) 331-3282 Fax: (818) 662-4141
    B. E-MAIL CONTACT AT FILER (optional)                                                                                                                ::                    :   ::   :   ::    : :


          CLS-CTLS_Glendale_Customer_Service@wolterskluwer.com
     C. SEND ACKNOWLEDGMENT TO: (Name and Address) 10104                       -
                                                                                   Caterpillar

          CT Lien Solutions                                                54906249
          P.O. Box 29071
          Glendale, CA 91209-9071                                         MSMS
         LL                         File with: Secretary of State, MS                                                THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
    1. DEBTOR'S NAME: Provide only one Debtor name (1a or 1b) (use exact, full name: do not omit. modify, or abbreviate any part of the Debtor's name); if any            the Individual Debtor's
1
                                                                     C}
       name wit not fit in line 1b, leave alt of tem 1 blank, check here and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)
;        1a. ORGANIZATION'S NAME

          GREENLEAF RESOURCES, INC                                                                                                                                                                                :
    oR   tb.INDIVIOUALSSURNAME                                                           FIRST PERSONAL NAME                                     ADDITIONAL NAME(SMINITIALIS)                    SUFFIX
                                                                                                                                                                                                              =
    1c. MAILING ADDRESS                                                                  CITY                                                    STATE        POSTA    CODE                      COUNTY

     923 10TH STREET, SUITE 101 PMB 138                                                   FLORESVILLE                                             ™            78114
    2. DEBTOR'S NAME: Provide only one Debtor name (2a or 2b) (use exact, full name: do not omit, modify, or abbreviate any part of the Debtor's name): if any part of the Individual Debtor's
       name will not fit in line 2b, feave all of item 2 blank. check here and provide the Individual Debtor information in item 10 of the Financing Statement Adendum (Form UCC1Ad)
                                                                                                                                                                                                              =
         2a, ORGANIZATION'S NAME


    OR   2b. INDIVIDUAL'S SURNAME                                                        FIRST PERSONAL NAME                                     ADDITIONAL NAME(S )INITIAL(S)                   SUFFIX



    2. MAILING ADDRESS                                                                   arty                                                    STATE         POSTAL CODE                       COUNTY



    3. SECURED PARTY'S NAMEAE ((or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY): Provide only one Secured                                    name (3a or 3b)
                                                                                                                                  Party




         3a. ORGANIZATION'S NAME

         CATERPILLAR FINANCIAL SERVICES CORPORATION
    OR   3. INDIVIDUALS SURNAME                    FIRST PERSONAL NAME                                                                           ADDITIONAL NAME(S}INITIAL(S)                    SUFFIX



    3c. MAILING ADDRESS                                                                   CITY                                                   STATE         POSTAL CODE                       COUNTRY

      2120 WEST END AVE                                                      NASHVILLE                              TN       372030986               USA
    4. COLLATERAL: This financing statement covers the following collateral:
    See Exhibit A attached hereto and made a part hereof. This filing is made to give notice of the true and absolute sale of certain chattel paper from Seiler
:   to Purchaser as described in Exhibit A attached hereto. The above collateral is within the scope of Article 9 of the Uniform Commercial Code (if this
    statement is filed in New Jersey, specifically Chapter 9 of Title 12A, pursuant to 12A:9-102 and 12A: 9-109).




    5. Check only if applicable and check only one box: Collateral is [_}haid in a Trust (see UCG1Ad, item 17 and Instructions)           being edministared by @ Decedent's Personal Representative
    6a, Check only # applicable and check only one box:                                                                                    Bb, Check onty     f applicable and check only one box:
         [} PublicFinance Transaction            ManutacturedHome Transaction                A Debtor is a Transmitting Utility                   Agricuttural Lien        (} Non-Ucc Fiting
    7. ALTERNATIVE DESIGNATION (If appticable):       a
    8. OPTIONAL FILER REFERENCE DATA:
    54906249                                 FEO-2886284-000
                                                                                                                                                                 Prepared by CT Lien Solutions, P.O. Box 29071,
    FILING OFFICE COPY              UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20/11)                                                                          Glendale, CA 91209-8071 Tal (ANN) 331-3787




                                                                                                                                                                                   EXHIBIT 3
                                                                                                                                                                                                    WHITE 000027
       Case 9:24-cv-00085-MJT    Document 19-4 Filed 07/24/24     Page 28 of 38 PageID #:
    Schedule A                               225
    Quantity         Make            Model          Description        Serial Number
    ONE            CATERPILLAR       140M2          MOTOR GRADER       M9D01062 -~
    ONE            CATERPILLAR       140M2          MOTOR GRADER       MgD00719 -
    ONE            CATERPILLAR       420FIT         BACKHOE LOADER     JWJ00211
    ONE            CATERPILLAR       CS56           SOIL COMPACTOR     C5S01569
    ONE            CATERPILLAR       279D           COMPACT TRACK      GTL00622
                                                    LOADER
    ONE            CATERPILLAR       CP56           SOIL COMPACTOR     C5P00680
    ONE            CATERPILLAR       RM-500         ROAD RECLAIMER     ASW00404
    ONE            CATERPILLAR       TL943C         TELEHANDLER
1

                                                                       THH00194
1
    ONE            CATERPILLAR       TL943C         TELEHANDLER        THH00195
    ONE            CATERPILLAR       324EL          HYDRAULIC          PNW00924
                                                    EXCAVATOR
    ONE            CATERPILLAR       D6TXWVP        TRACK TYPE         RCW01165
                                                    TRACTOR
    ONE            CATERPILLAR       D6TXL          TRACK TYPE         GMK00555
                                                    TRACTOR
                   CATERPILLAR       140M2          MOTOR GRADER       M9D01052 -
                   LOAD KING         604            TRAILER            VIN: 5LKL50462D 102844
                                                                        5




                                               1




                                                                              EXHIBIT 3
                                                                                        WHITE 000028
              Case 9:24-cv-00085-MJT                                         Document 19-4 Filed 07/24/24                                                          Page 29 of 38 PageID #:
                                                                                         226




                                                                                                                                               File Number
                                                            a


    UCC FINANCING STATEMENT                                                                                                              :   Date Filed 3/2512636.12
    FOLLOW INSTRUCTIONS                                                                                                                                                                                                                                                : :
                                                                                                                                                                                                                                                                                                              :

                                                                                                                                                                                                            :
                                                                                                                                                                                                       :                                            : : :
                                                                                                                                                                           : ::                                                            :: : :          :
     A. NAME & PHONE OF CONTACT AT FILER (optional)                                                                                                                                    : : :       :                          :       :
                                                                                                                                                                                   :                   :        :   :   : :                           :: :     :   :
                                                                                                                                                                                                            :                                                              :
                                                                                                                                                                    :
          Phone: (800) 331-3282 Fax: (818) 662-4141                                                                                                                                                                                                                            :
                                                                                                                                     :                                                                                  :             :                                :                          :



                                                                                                                                                                                                                        :::               :: :: ::
     B. E-MAIL CONTACT AT FILER (optional)                                                                                           :: : : : : : : : : :   : : : : : ::   : : :       ::      :           ::                     :                                                         :::




                                                                                                                                                                                                                                                                                            612106
          CLS-CTLS_Glendale_Customer_Service@wolterskluwer.com
     C. SEND ACKNOWLEDGMENT TO; (Name and Address) 10104
                                                         Caterpillar                -




       [ cr Lien Solutions
         P.O. Box 29071
                                                                                 54938951
           Glendale, CA 91209-9071                                              MSMS
       L                             File with: Secretary of State, MS                                                  THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
    1. DEBTOR'S NAME: Provide only one Deblor name (1a or 1b) (use exact, full nama: do not omit, modify. or abbreviate any part of tha Debtor's name); if any part of the ndividual Debtor's
      name will not fit in line 1b, leave all of tem 1 blank, check here       and provide the Individual Debtor information in tem 10 of the Financing Statement Addendum (Form UCC1Ad)
         Ta. ORGANIZATION'S NAME

          GREENLEAF RESOURCES, INC.

                                                                                                                                                                                                                                                                                                      5
         18, INDIVIDUAL'S SURNAME                                                            FIRST PERSONAL NAME                                              ADDITIONAL NAME(S)INITIAL(S)                                                                                         SUFFIX


     4c. MAILING ADDRESS                                                                     CITY                                                             STATE               POSTAL CODE                                                                                      COUNTY

     923 10TH STREET, SUITE 101 PMB 138                                                       FLORESVILLE                                                      ™                   78114                                                                                                                  :

    2. DEBTOR'S NAME: Provide only ong Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual Debtorg,yy
      name will not ff in ine 2b, leave all of iter 2 blank, check here        and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCGIAd)
         Zs, ORGAN ZATIONS NAME
                                                                                                                                                                                                                                                                                                      *   :




                                                                                             FIRST PERSONAL NAME                                             ADDITIONAL NAME(S JANITIALYS)                                                                                         SUFFIX


    2c. MAILING ADDRESS                                                                      CITY                                                             STATE               POSTAL CODE                                                                                      COUNTY                 :



    3.SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY} Provide only one Secured Party name (3a or 3b)
         Ja. ORGANIZATION'S NAME
          CATERPILLAR FINANCIAL SERVICES CORPORATION
         3b. INDIVIDUALS SURNAME                                                              FIRST PERSONAL NAME                                             ADDITIONAL NAME(S)INITIAL(S)                                                                                         SUFFIX                 :



     3c. MAILING ADDRESS                                                                      arty                                                            STATE               [POSTAL 'CODE                                                                                    COUNTRY

       2120 WEST END AVE                                                     NASHVILLE                                       372030986               USA
    4, COLLATERAL: This financing statement covers the following collateral:
    See Exhibit A attached hereto and made a part hereof. This filing is made to give notice of the true and absolute sale of certain chattel paper from Selter
    to Purchaser as described in Exhibit A attached hereto. The above collateral is within the scope of Article 9 of the Uniform Commercial Code (if this
    statement is filed in New Jersey. specificatly Chapter 9 of Title 12A, pursuant to 12A:9-102 and 12A: 9-109).




    5. Check Qnty if applicable and check only one box: Collateral is      [neta in @ Trust see UCC1Ad, item 17 and Instructions)            Jbeing administered by a Decedent's Personal Representative
    Ba. Check only if applicable and check only     one box:                                                                                   Bb. Check only @ applicable and check only one box:



C           Public-Finance Transaction
    7. ALTERNATIVE DESIGNATION (if applicable):
                                                    Manufactured-Home Transaction            [1 A Debtor is a Transmitting Utility
                                                                                          Consignee/Consignor               Setter/Buyer
                                                                                                                                                               Agricultural Lien

                                                                                                                                                               []       Bailee/Baitor
                                                                                                                                                                                                                            [[] Non-UCC Filing
                                                                                                                                                                                                                                          []ticensees.icensor
    8. OPTIONAL FILER REFERENCE DATA:
    54938951                                    FE0-2886286-000
                                                                                                                                                                                       Prepared by CT Lien Solutions, P.O. Box 29071,
    FILING OFFICE COPY - UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20/11)                                                                                                           Glandale, CA 91209-9071 Tai (800) 331-3282




                                                                                                                                                                                                                                                EXHIBIT 3
                                                                                                                                                                                                                                                                                            WHITE 000029
     Case 9:24-cv-00085-MJT   Document 19-4 Filed 07/24/24     Page 30 of 38 PageID #:
Schedule A                                227
Quantity        Make            Model           Description       Serial Number
ONE            CATERPILLAR      420FIT          BACKHOE LOADER    JWJ00214
ONE            CATERPILLAR      CS56            SOIL COMPACTOR    C5S01569
ONE            CATERPILLAR      279D            COMPACT TRACK     GTL00622 yey
                                                LOADER
ONE            CATERPILLAR      CP56            SOIL COMPACTOR    C5P00680
                                                                                                       :
ONE            CATERPILLAR      RM-500          ROAD RECLAIMER    ASW00404

ONE            CATERPILLAR      TL943C          TELEHANDLER       THH00194
ONE            CATERPILLAR      TL943C          TELEHANDLER       THH00195
ONE            CATERPILLAR      324EL           HYDRAULIC         PNW00924
                                                EXCAVATOR                                          :


ONE            CATERPILLAR      D6TXWVP         TRACK TYPE         RCW01165                        :




                                                TRACTOR
ONE            CATERPILLAR      D6TXL           TRACK TYPE         GMK00555                        :




                                                TRACTOR
ONE            CATERPILLAR      140M2           MOTOR GRADER       M9D01052
ONE            LOAD KING        604             TRAILER            VIN: 5LKL50462D 10284           :


                                                                   5
ONE            CATERPILLAR      D6T             TRACK TYPE         GMK00676 -
                                                TRACTOR
ONE            CATERPILLAR      D6T             TRACK TYPE         TSM00146
                                                TRACTOR




                                                                                       MK JUL 25
                                                                                           AM &
                                                                                           52




                                                                                                       :
                                          1




                                                                              EXHIBIT 3
                                                                                      WHITE 000030
                Case 9:24-cv-00085-MJT                                          Document 19-4 Filed 07/24/24                                               Page 31 of 38 PageID #:
                                                                                            228

                                                                                                        160455679
                                                                                                                                                    File Number. 201621025654
    UCC FINANCING STATEMENT                                                                                                                   Date Filed: 1h ¥2/2046 4:06.58 AM
    FOLLOW INSTRUCTIONS                                                                                                                            C. Delbert Hasemann, Jr.
     A. NAME & PHONE OF CONTACT AT FILER (optional)
           UCC Direct Services                                                              800-331-3282
                                                                                                                                                       Secretary of Nate
     B. EMAIL CONTACT AT FILER (optional)
           efiling@wolterskluwer.com
     C. SEND ACKNOWLEDGMENT TO: (Name and Address)



                        CT Lien Solutions
                                                                                                       +
                        P.O. Box 29071
                        Glendale, CA 91209-9071

                                                                                                                                         THE ABOVE SPACE S FOR F lNG OFF CE USE ONLY
    1. DEBTOR'S NAME Provide only one Debtor Name (1a or 1bXuse exact, full name, do not omit modify or abbrewate any pait of the Debtor's Name). if any part of the ndividual Debtor's
       name will not fit in line 1b feave all of item 1 blank check here      _
                                                                         Jana provide the ndividual Debtor nformation in item 10 of the Financing Statement Addendum (Form UC1 Ad)
             'a. ORGANIZATION NAME
              GREENLEAF RESOURCES, INC.
    OR
             lb. NVDUALS SURNAME                                                                                                     ADDTKNAL NMAMASYNTAL(S)                                   SUFI

    tc. MALNG ADDRESS                                                                                                                STATE                    AL
         923 10TH STREET, SUITE 101 PMB 138                                                  MONAHANS                                    ™                79756                                 USA
    2. DEBTOR'S NAME Provide only ong Debtor Name (2a or 2bYuss exact, full name. do not omit                            abbreviate any pait of the Debtor's Name) if any part of the ndividual Debtor's
          name will not fit in lina 2b leave all of item 2 blank check here   [Jana provide the ndividual Debtor information in item 10 of the Financing Statament Addendum (Form UOC1 Ad)
           2a. ORGANIZATION NAME

    OR
           2b. NON DUALS SURNAME                                        FRST FERSONAL NAME                              ADDTKNAL NAMGS)/NTIAL(S)


(   2c. MALNG ADDRESS                                                  aly                                              STATE                 POSTAL OOE


    3. SECURED PARTY'S NAME (or NAME of ASS GEE of ASS GNOR SECUREDPARTY) Provide only one Secured Party name 3a or 3b)
        3a. ORGANIZATION NAME

    OR      CATERPILLAR FINANCIAL SERVICES CORPORATION
           3b. NOVDUAL'S SURAME                                         FIRST FERSONAL NAME                             ADDITIONAL NAMAS)INTAL(S)


    3c. MALNG ADDRESS.                                                 CTY                                              STATE                       AL
         2120 WEST END AVE                                               NASHVILLE                                                             372030986                                     USA
    4. COLLATERAL:                This financing statement coversthe following collateral
    ONE (1) CATERPILLAR D6T TRACK TYPE TRACTOR S/N: GMK00676, MULTI-SHANK 6 RIPPER, And all other equipment
    heretofore or hereafter leased, sold pursuant to installment sale or financed by secured party whether as lessor, seller or secured
    party to or for debtor whether as lessee, buyer or debtor, together with all attachments, accessories and accessions thereto and all
    replacements and substitutions therefore. The above collateral is within the scope of Article 9 of the Uniform Commercial Code (if
    this statement is filed in New Jersey, specifically Chapter 9 of Title 12A, pursuant to 12A:9-102 and 12A: 9- 109).




    5.   Checkgnily if applicable and checkonly one box. Collateral is        Cl held in a Trust (sae UCCtAd item 17 and instructions)          being administered by a Decedent'sPeronal Representative

    6a Check only if applicable and checkonly one box                                                                                            6b Check galyif appticabla and checkonly one box:
                PublicFinance Transaction                Manufactured Home Transaction            A Debtorisa Transmitting Utitity                        Agriouttural Lien           Non-UCt Filing

    7.   ALTERVT VE DES GNAT ON [if applicable)                 I1 Lessse/.essor            Ol                  gnor


C   8. OPT ONAL F LER REFERENCE DATA

           MS-0-56036752-52265725
    FILING OFFICE COPY        -
                                  UCCF NANCNG STATEMENT (Form UCC1}(Rav 08/23/11}




                                                                                                                                                                                        EXHIBIT 3
                                                                                                                                                                                                           WHITE 000031
            Case 9:24-cv-00085-MJT                                           Document 19-4 Filed 07/24/24                                                Page 32 of 38 PageID #:
                                                                                         229
                                                     :
                                                         :



                                                                                                     160455688

UCC FINANCING STATEMENT
                                                                                                                                             File Number. 20162102570A
                                                                                                                                          Bate Filed: 1G) F2j29 16 16:13:51 AM
                                                                                                                                                                                                            O
FOLLOW NSTRUCTIONS
            |

                                                                                                                                                    C. Delbert Hesemann, Ba
 A. NAME & PHONE OF CONTACT AT FILER (optional)
      UCC Direct Services                                                              800-331-3282
                                                                                                                                                       Secretary of State
 B. EMAIL CONTACT AT FILER (optional)
      efiling@wolterskluwer.com
 C. SEND ACKNOWLEDGMENT TO: (Name and Address)


                                                                                                    -1
                  CT Lien Solutions
                  P.O. Box 29071
                  Glendale, CA 91209-9071
      L                                                                                                                               THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME Provide only one Debtor Name (1a or tbYuse exact, full name: do not omit modify or abbreviate any part of the Debtor's Name): if any part of the ndividual Debtor's
   name will not fitin line 1b leave al! of itam 1 blank, check here and provide the ndividual Debtorri nformation in item 10 of the Financing Statement Addendum (Form UCC Ad)

        4a. ORGANZATION NAME
         GREENLEAF RESOURCES INC.
OR
        Ib. INOIVIDUAL'S SURNAME                                                       FIRST PERSOMAL NAME                        ADDITKNAL NAMES)NTAL(S)                                  SUFFIX


ic. MALING ADDRESS                                                                     ary                                        STATE              FOSTAL CODE                           COUNTRY
 923 10TH STREET, SUITE 101 PMB 138                                     MONAHANS                                 ™                   79756                                 USA
2. DEBTOR'S NAME Provide anly one Debtor Name (2a or 2bXusa exact. full name. do not omit modify or abbreviate any part of the Debtor's Name) if any part of the ndividual Debtor's
     name wil not fitin line 2b leave all of item 2 blank check here          and provide the ndividual Debtor i nformation in item 10 of the Financing Statement Addendum (Form UCC1Ad)

      2a, ORGANIZATION NAVE

OR
      2b. INDIVDUAL'S SURNAME                                       FIRST FERSONAL NAME                              ADDITIONAL NAIMES\/NTIAL(S)                                         SFFIX

2c. MALNG ADDRESS                                                                                                    STATE                 POSTAL CODE


3. SECURED PARTY'S NAME (er NAVE of ASS GEE of ASSGNOR                                        PARTY). Provide only ong Secured Party name (Ga or 3b)
      3a. ORGANIZATION NAME

or CATERPILLAR FINANCIAL SERVICES CORPORATION
      9b, INDIVIDUAL'S SURNAME                                      FIRST PERSONAL NAVE                              ACDITIONAL NAMZS)/NTIAL(S)


3c. MALNG ADDRESS                                                  CTY                                               STATE                 POSTAL OOEE
 2120 WEST END AVE                                                   NASHVILLE                                        ™                     372030986                                    USA
4, COLLATERAL:              This financing statement coversthe following collateral
ONE (1) CATERPILLAR D6T TRACK TYPE TRACTOR S/N: TSM00146, 6SU XL BLADE, RIPPER, And substitutions,
replacements, additions and accessions thereto, now owned or hereafter acquired and proceeds thereof. The above collateral is
within the scope of Article 9 of the Uniform Commercial Cade (if this statement is filed in New Jersey, specifically Chapter 9 of
Title 12A, pursuant to 12A4:9-102 and 12A: 9-109).




5. Checkonly if applicable and checkgnly one bax. Collateral is               held in a Truet (see UCCIAd item 17 and instructions)         being administered by a Dacedent's Personal Represantative
6a Check only if applicable and checkgnly one box.                                                                                           6b.   Checkpoly   f applicable and check     one bax:
       PublicFinance Transaction             Manufactured Home Transaction               L1 A Debtorisa Transmitting Utility                            Agricultural Lien                   Filing
7. ALTERNAT VE DES GNAT ON (if applicable)
                                                             []   Lessse/Lessor             Consignee/Consignor          I1 SellerBuyer            7]   BaileeBailor             Licensse/icensor

8. OPT ONAL FLER REFERENCE DATA

     MS-0-56036800-52265753
FILING OFFICE COPY UCC F NANC NG STATEMENT (Form UCC1)(Rev 08/23/11)
                        -




                                                                                                                                                                                        EXHIBIT 3
                                                                                                                                                                                                     WHITE 000032
            Case 9:24-cv-00085-MJT                                           Document 19-4 Filed 07/24/24                                                  Page 33 of 38 PageID #:
                                                                                         230

                                                                                                        170049851
                                                                                                                                                  Fite Number: 201 722051804
UCC FINANCING STATEMENT                                                                                                                         Date Filed: 2/7/2017 11:5022 AM
FOLLOW INSTRUCTIONS                                                                                                                                 C. Detbert Hosemann. Jr.
A. NAME & PHONE OF CONTACT AT FILER (optional)
      Nichole Melillo                                                                     281-570-1850
                                                                                                                                                        Secretary of State
 B. EMAIL CONTACT AT FILER (optional)
      credit         hirdcoastcommercialcap.com
C. SEND ACKNOWLEDGMENT TO: (Name and Address)



                   Nichole Melillo
                   20202 HIGHWAY 59 STE 190                N


                   HUMBLE, TX 77338-2403
                                                                                                                                         THE ABOVE SPACE S FOR F NG OFF CE USE ONLY
1. DEBTOR'S NAME Provide only ong Debtor Name (4a or 1bXuse exact full name. do not omit modify or abbreviate any part of the Debtor's Name) if any                      part ndividual Debtor's
     name will not fit in line 1b leave all of item 1 blank check here      Jand provide the ndividual Debtor information in item 10 of the Financing Statement Addendum (Form U0C1Ad)
      1a. ORGANIZATION NAME

OR     Greenleaf Resources, Inc.
      tb. NONDUAL'S SURNAME                                           FIRST FESONAL NAME                                ADDTKNAL NANS)INTAL(S)                                            SUFFIX


1c. MALING ADDRESS                                                   ary                                                 STATE                  FOSTAL CODE
 313 ELLYRD PMB 16                                                     PICAYUNE                                           MS                     39466-5552                                US
2. DEBTOR'S NAME Provide only ong Dabtor Name (2a or 2bXuse exact full name. do not omit modify or abbreviate any part of the Debtor's Name) if any part ofthe ndividual Debtor's
   name will not fit in line 2b leave all of item 2 blank check hers and provide the ndividual Dabtor information in item 10 of the Financing Statement Addendum (For UOC1Ad)

      2a. ORGANIZATION NAME

OR
      2. NOVDUAL'S: SURNAME                                           FIRST PERSONAL NAME                               ADDITIONAL NAMGS)INTAL(S)


2c. MALNG ADDRESS                                                                                                       STATE                   POSTAL CODE


3. SECURED PARTY'S NAME (or NAME of ASS                         GE of ASS GNOR SECUREDPARTY) Provide only one Secured Party name (3a or 3b)
      3a.
       THIRD COAST COMMERCIAL CAPITAL, INC.
      3b. NOVDLAL'S SURNAME                                                FIRST PERSONAL NAME                                            NANAS)INTIAL(S)


3c. MALNG ADDRESS                                                          CTY                                              STATE                POSTAL CODE
 20202 HIGHWAY 59 N STE 190                                                 HUMBLE                                           TX                   77338-2403                                US
4, COLLATERAL:               This financing statement coversthe following collateral
All assets of the Debtor. In addition, Secured Party hereby perfects its ownership rights in all now existing and future Accounts
purchased from the Seller/Debtor and in respect to which Secured Party takes ownership or title. WARNING: PURSUANT TO AN
AGREEMENT BETWEEN DEBTOR AND SECURED PARTY, DEBTOR HAS AGREED TO NOT GRANT A SECURITY INTEREST
IN THE COLLATERAL TO ANY OTHER PARTY. THE ACCEPTANCE OF ANY SUCH SECURITY INTEREST BY ANY THIRD
PARTY WILL CONSTITUTE THE TORTIOUS INTERFERENCE WITH SECURED PARTY'S RIGHTS IN THIS REGARD.




5 Checkonly if applicable and                       box.   Collateral is         held in @ Trust (see UCC1Ad item 17 and instructions}           being administered by a Decedent's Personal Rapresantative

6a Check only if applicable and                      box.                                                                                         6b Check only if applicable and checkonly one bax.
            PublicFinanos Transaction               Manufactured Home Transaction           [] A    Debtor isa Transmitting Utility                       Agrouttural Lien     (None Filing
7 ALTERNT VE DES GNAT ON[if applicable)                                                                                                                   BaileeBailor
                                                               (_] Lesee/Lessor          [_]   Consignee/Consignor                SellerBuyer

8. OPT ONAL F LER EFERENCE DATA




FILING OFFICE COPY UCC F NANCNG STATEMENT (Form UCC1)(Reav 08/23/11)
                         -




                                                                                                                                                                                      EXHIBIT 3
                                                                                                                                                                                                       WHITE 000033
             Case 9:24-cv-00085-MJT                                            Document 19-4 Filed 07/24/24                                              Page 34 of 38 PageID #:
                                                                                           231
     &               fe
                                                                                                     170084300
                                                                                                                                              Fie Number: 201722234306.
UCC FINANCING STATEMENT                                                                                                                      Bate Filed: 3/6/2017 22046 PM
FOLLOW INSTRUCTIONS                                                                                                                             C. Delbert Hosemann, Jr.
A. NAME & PHONE OF CONTACT AT FILER (optional)
                                                                                                                                                    Secretary of Siste
         Corporation Service Company                                                   (800)858-5294
B. EMAIL CONTACT AT FILER (optional)
         FilingDept@CSCinfo.com
C. SEND ACKNOWLEDGMENT TO: (Name and Address)



                   Corporation Service Company
                   801 Ad!ai Stevenson Drive
                   Springfield, IL 62703
                                                                                                                                      THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME Provide only one Debtor Name (1a or 1b\use exact, full name. do not omit              abbreviate any part of the Debtor's Name) if any part of the ndividual Debtor's
   name will not fitin line 1b leave all of itam 1 blank, check here provide the ndividual Debtor nformation in item 10 of the Financing Statement Addendum (Form UC1 Ad)

      4a. ORGANIZATION NAME
         GREENLEAF RESOURCES INC
         tb. INDIVIDUALS SURNAME                                   FIRST PERSONAL NAME                               ADDITIONAL NAME S)INTIAL(S)


te. MALNG ADDRESS                                                  ary                                               STATE                   POSTAL CODE                                COUNTRY
 610 W 20                                                           MONHANS                                            ™                      79756                                       USA
2, DEBTOR'S NAME Provide only ong Dabtor Name (2a or 2bXuse exact full name: do nat omit                              abbreviate any part of the Debtor's Name) if any part of the ndividual Debtor's
     name will not fit in line 2b leave all of item 2 blank checkhere          and provide the ndividual Debtor information in item 10 of the Financing Statement Addendum (Form UOC1 Ad)

      2a. ORGSANZATIN NAIVE

OR
           NOVDUAL'S SURNAME                                       FIRST                                             ADDITIONAL NAM S)/INTIAL(S)


a MALNG ADDRESS                                                                                                      STATE                   POSTAL CODE


3. SECURED PARTY'S NAME (or NAME cf ASS GNEE of ASS GNOR SECURED PARTY} Provide only                                      Secured Party name (a or 3b)
         3a. ORGANIZATION NAME
          MARLIN BUSINESS BANK
OR
         %. NNVDUALS SURNAME                                           FIRST PERSONAL NAME                              ADDITIONAL NAMESYNTAL(S)


3c. MALNG ADDRSSS                                                      CTY                                              STATE                 POSTAL CODE
 2795 E COTTONWOOD PKWY                                                 SALT LAKE CITY                                    UT                   84121                                      USA
4, COLLATERAL                 Thisfinancing statement coversthe following collateral
2016 VIKING FLATDECK, VIN: 1V9CR5332GN062275. AND ALL REPLACEMENTS, SUBSTITUTIONS, ACCESSIONS, ADD-ONS,
AND ALL PROCEEDS AND ACCOUNTS OF THE DEBTOR ARISING OUT OF OR RELATED TO THE FOREGOING. THIS
FINANCING STATEMENT RELATES TO AN EQUIPMENT FINANCE AGREEMENT BETWEEN THE DEBTOR (AS CUSTOMER)
AND THE SECURED PARTY (AS FINANCE COMPANY). THIS FINANCING STATEMENT !S FILED TO GIVE NOTICE OF
SECURED PARTY'S FIRST PRIORITY, PURCHASE MONEY SECURITY INTEREST IN THE COLLATERAL.




5. 'Checkonly if applicable and checkonly one box. Collateral is
                                                                           7   held in a Trust (sae UCC1Ad item 17 and nstructions)      7    being administered by a Dacadent's Personal Representative

6a Check only if applicable and checkgnly one box                                                                                              60 Check only if applicable and check only one box.
            PublicFinance Transaction               Manufactured Home Transaction           [] A        isa Transmitting Utility                  LD Asticuttual Lien              Non-UCC Filing

7 ALTERVAT VE DES GNAT ONiif applicable)
                                                           O    Lessae/Lessor
                                                                                                                         LJ                            BaileeBailor              Licensee/Licensor


                                                                                                                                                                                                               O
                                                                                       CL    Consignee/Cons gnor               Selle/Buyer
8. OPT ONAL F      LER
      'APP 1183725 CCAN 1573544 [128291701]
FILING OFFICE COPY UCC F NANCNG STATEMENT (Form UCC1)(Rev 08/23/11)
                          -




                                                                                                                                                                                      EXHIBIT 3
                                                                                                                                                                                                        WHITE 000034
             Case 9:24-cv-00085-MJT                                        Document 19-4 Filed 07/24/24                                                Page 35 of 38 PageID #:
                                                                                       232

                                                                                                    170087655
                                                                                                                                              Fite Number: 201722252 36A
    UCC FINANCING STATEMENT                                                                                                                 Date Filed: S7{2017 1206:23 AM
    FOLLOW INSTRUCTIONS                                                                                                                                Detbert Hosemann.                Jr
    A. NAME & PHONE OF CONTACT AT FILER (optional)
         UCC Direct Services                                                           800-331-3282
                                                                                                                                                       Secretary of State
     B, EMAIL CONTACT AT FILER (optional)
         efilin      wolterskluwer.com
    C. SEND ACKNOWLEDGMENT TO: (Name and Address)



                    CT Lien Solutions
                                                                                                   7
                    P.O. Box 29071
                    Glendale, CA 91209-9071

                                                                                                                                     THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
    1. DEBTOR'S NAME Provide only ong Debtor Name (1a or 1bXuse exact, full name. do not omit modify or abbreviate any part of the Debtor's Name) if any part of the ndividual Debtor's
       name will not fit in ling 1b leave all of item 1 blank, check hereJand
                                                                          provide the ndividual Debtor information in item 10 of the Financing Statement Addendum (Form UOC1 Ad)

         4a ORGANIZTION NAME
    OR    GREENLEAF RESOURCES, INC
         'Ib. INOMVDUAL'S SURNAME                                  FIRST PERSONAL NAME                              ADDITIONAL NAMAS)INTAL(S)


    ic. MALNG ADDRESS                                              ary                                              STATE                   POSTAL GOCE
     PO BOX 390                                                     MONAHANS                                         ™                       79756                                     USA
    2. DEBTOR'S NAME Provide only one Debtor Name (2a or 2bYuse exact, full name. do not omit modify or abbreviate any part of the Debtor's Name) if any part of the ndividual Dabtor's
       name will net fitin line 2b leave all of item 2 blank, check here and provide the ndividual Debtor nformation in item 10 of the Financing Statement Addendum (Form UCCIAd)

         2a. ORGANIZATION NAME

    OR
         2b. NONVDUAL'S SURNAME                                    FIRST PERSONAL NAME                                                   S)/NTIA(S)                                   SUFFIX


(   2c. MALNG ADDRESS                                                                                               STATE                   POSTAL CODE


    3. SECURED PARTY'S NAME (or NAME of ASS GNEE of ASS GNOR SECURED PARTY) Provide only one Secured Party name (3a or 3b)
         3a. ORGANZATIN NAIVE
            Navitas Credit Com.
           3b. INDIVIDUALS SURNAME                                                           FIRST FERSONAL NAME                      ADDTONAL NAMRS)NTAL(S)


    3c. MALNG ADDRESS                                                                       CITY                                      STATE            POSTAL OCDE
     111 EXECUTIVE CENTER DRVE, SUITE 102                                                     COLUMBIA                                 sc                29210                             USA
    4, COLLATERAL:            This{inancing statement coversthe following collateral

    (3) 2016 DURAHAUL BELLY DUMP LP 40', VIN 3P9DT4029G1033594, 3P9KT4028G1033688, 3P9KT4026G1033687
    ("Equipment"), and all replacements, replacement parts, accessions and attachments now or hereafter made a part of any of the
    Equipment, and all cash and non-cash proceeds, general intangibles, accounts and chattel paper arising out of any of the
    foregoing.




    5 Checkonly if applicable and check only one box Collateral is
                                                                         7   held in a Trust (s8e LOCI Ad item 17 and insructions)           being administered by a Decadent'sPersonal Representative

    6a Check only if applicable and chackgnly one box                                                                                         6b Check only tf applicable and check only one bax
           PublicFinance Transaction             Manufactured Home Transaction          [_1 A Debtor isa Transmitting Liility                          Agricultural Lien        Non-UCC Filing

    7 ALTERNT VE DES               ON   [if applicable)    []   Lessse/Lessor              Consignee/Consignor          [_]   SellerBuyer        [_]   BaileeSailor            Licensae/.icensor


C   8. OPT ONAL F LER

         MS-0-57906760-52929995
    FILING OFFICE COPY    -
                              UCC NANCNG STATEMENT (Form UCC1)(Rev 08/23/11)




                                                                                                                                                                                  EXHIBIT 3
                                                                                                                                                                                                   WHITE 000035
            Case 9:24-cv-00085-MJT                                          Document 19-4 Filed 07/24/24                                                  Page 36 of 38 PageID #:
                                                                                        233

                                                                                                   170214579
                                                                                                                                               Fife Number: 201722940636.
UCC FINANCING STATEMENT                                                                                                                      Bate Filed: HI25/P037 424-06 PM
FOLLOW INSTRUCTIONS                                                                                                                              €. Delbert Hosemann, Jr
 A. NAME & PHONE OF CONTACT AT FILER (optional)
      Paula Mayfield
                                                                                                                                                          Secretary of State
                                                                                       (504) 586-5247
 B. EMAIL CONTACT AT FILER {optional}

      pmayfield@fishmanhaygood.com
 C. SEND ACKNOWLEDGMENT TO: (Name and Address}


                                                                                                  -1
                   Fishman Haygood LLP
                   201 St Charles Avenue Suite 4600
                   New Orleans, LA 70170

                                                                                                                                   THE ABOVE SPACE IS FOR FILING OFF CE USE ONLY
1. DEBTOR'S NAME. Provide only one Debtor Name (1a or ibYuss exact, full name, do not omit. modify or abbreviate any pait of the Debtors Name} if any part of the Individual Debtor's
   name will not fit in line 1b, leave all of itam 1 blank, check here (Cand provide the individual Debtor information in item 10 of the Financing Statament Addendum (Form UOC1 Ad)

      1a. ORGANZATION NAME

R      Greenleaf Resources, Inc.
       tb. NNDUAL'S SURNAME                                       FIRST PERSONAL NAIVE                              ACDITIONAL NAMA S)/NTIAL(S)                                        SUFFIX


4c. MALNG ADDRESS,                                                Cary                                              STATE                    POSTAL GOCE
 3 ANDSBURY CT                                      HATTIESBURG                                         MS                     39402
2. DEBTOR'S NAME. Provide only ong Dabtor Name (2a or '2bYuse exact, full name; do not omit, modify or abbreviate any part of the Debtor's Name) if any part of the Individual Debtor's
     name will not fit in line 2b, leave all of item 2 blank checkhere   Cl and provide the ndividual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)
      2a. ORGANIZATION NAME

OR
      2. NOV DUAL'S SURNAME                                       FIRST FSONAL NAME                                 ADDITIONAL NAM S)/NTIAL(S)


2c. MALNG ADDRESS                                                 Oly                                               STATE                    POSTAL GOCE


3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECLREDPARTY): Provide only                                      Secured Party name (3a or 3b)
      3a. ORGANIZATION NAIVE

OR
      %. INDIVIDUAL'S SURNAME                                      FIRST FERSONAL NAME                              ADDITIONAL NAMASYNTAL(S)                                            SUFIX
       White                                                         John                                             F                                                                 Jr.
3c. MALING ADDRESS                                                                                                  STATE                    POSTAL CODE
 812 GRAVIER ST, SUITE 360                                           NEW ORLEANS                                      LA                      70112
4. COLLATERAL               This financing statament coversthe following collateral.
All Assets of Debtor, whether now owned or hereafter acquired.




5.             if applicable and check only one box. Collateral is
                                                                         [ ]held in a Trust (86 UCCIAd item 17 and nstructions)               baing administered by a Decedent's Personal Representative

6a Check   gly   if applicable and checkgnly one box                                                                                          6b. Checkgalyif applicable and check only one box:

     {] Public-Finance Transaction                 Manufactured Home Transaction         [] A   Debtoris a Transmitting Uitity                         Agiauttural Lien          Non-ucc Filing

7. ALTERNATIVE DESIGNATION (if applicable)                     Lessae/Lessor                                                                           BaileeBailor              Licansee/Licensor
                                                                                                                                                                           [_]
                                                                                                                                                                                                            O
                                                                                                                              'SellerBuyer
8. OPTIONAL FILER REFERENCE DATA

      1897-001
FAILING OFFICE COPY     -
                            UCC FINANCING STATEMENT (Form UCC1\Rev 08/23/11)




                                                                                                                                                                                     EXHIBIT 3
                                                                                                                                                                                                     WHITE 000036
                  Case 9:24-cv-00085-MJT                                   Document 19-4 Filed 07/24/24                                              Page 37 of 38 PageID #:
                                                                                       234
    UCC FINANCING STATEMENT ADDENDUM
    FOLLOW INSTRUCTIONS
    9. NAME OF FIRST DEBTOR Same asline 1a or 1b on Financing Statement. If line 1b wesleft blank

                                                                  o
c         because individual Debtor name did net fit. chackhere
           9a. ORGANZATKNS NAVE
           Greenleaf Resources, Inc.
                                                                                                                                           File Number: 201 72284063A
                                                                                                                                         Date Filed: 5/25/2047 4:2406 PM
                                                                                                                                                     Delbert Hosemaann. Jr

    OR
           9b. INDIVIDUALS SURNAME                                                                                                                   Secretary of State
               FIRST PERSONAL NAME


                             RAINES]           SS)
                                                                                                                         THE ABOVE SPACE IS FOR RLING OFFICE USE ONLY
    10. DEBTOR'S           NAME. Provide (10a or 10b only ane additional Debtor name or Debtor name that did not fit in line 1b or 2b af the Financing Statement Form UCC1) (use exact full name)
           do not omit          abbreviate any part of the Debtor's name) and enter the mailing addressin line 10c
          10a. ORGANZAyTIONS NAME


    OR/70b. NOVIDUAL'S SURNAME


              NNDJALS FIRST FBOVAL NAME

              NOWDLUAL'S ADDITIONAL NAMXS)NTIAL(S)


    10c. MALNG ADDRSS                                                                                                STATE               POSTAL CODE


    11,        ADDTIONAL SECURED PARTY'S NAME                     ASSIGNOR SEQRED PARTY'S NAME. Provide only ana name (11a or 11b)
           41a.

    OR      421 Development, Ltd.
           11b. NOMDUAL'S SURNAME                                     FIRST PERSONAL NAME                             ADOMONAL NAMESYINTIAL(S)                                       SUFFIX


    4c. MALNG ADDRESS                                               TY                                                STATE                POSTAL CODE


(    812 GRAVIER ST, SUITE 360
    12.   ADDITIONAL SPACE FOR ITEM 4 (Collateral)
                                                                       NEW ORLEANS                                     LA                   70112




           (_]ThisFINANCING STATEMENT is to be filed (for record) (or recorded)
    13                                                                            in the            14, This              STATEMENT
                REAL ESTATE RECORDS (if applicable)                                                     []   covers timber to be out   O covers asextracted collateral   [Jisfiled asa fixture filing
    15. Name and address of a RECORD OWNER of real estate desaibed in item 16                       16, Desciption of real estate
          (if Debtor does not have a racord interest}




    17 MISCELLANEOUS




    FILING OFFICE COPY UCC FINANCING STATEMENT ADDENDUM (Form UCCIAd)(Rav 04/20/11)
                              -




C


                                                                                                                                                                                EXHIBIT 3
                                                                                                                                                                                                    WHITE 000037
Case 9:24-cv-00085-MJT   Document 19-4 Filed 07/24/24   Page 38 of 38 PageID #:
                                     235




                                                                    EXHIBIT 3
                                                                  "Mew

                                                                            WHITE 000038
